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                            CERTIFICATION OF ADMINISTRATIVE RECORD
            I, Juliana Blackwell, declare as follows:

            I.         1 am employed with the U.S. Department of Homeland Security as the Deputy

    Executive Secretary. I am responsible for the oversight and management of the Office of the

    Executive Secretary, which oversees the management of written communication intended for, and

    originated by, the Secretary and Deputy Secretary of Homeland Security and maintains official

    Department records. I have held this position since August 2019. The facts attested to herein are

    based upon my personal knowledge or information made available to me in the course of my

    official duties.

            2.         I certify that the table of contents annexed hereto as Exhibit A includes, to the best

    of my knowledge, all non-privileged documents that constitute the administrative record

   underlying Acting Secretary of Homeland Security Chad F. Wolfs decision set forth in the July

   28, 2020 Memorandum entitled "Reconsideration of the June 15, 2012 Memorandum Entitled

    'Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the United States

   as Children."'

            3.         I also certify that, to the best of my knowledge, the documents identified in the

   privilege log annexed hereto as Exhibit B constitute a true, correct, and complete list of the

   privileged documents that were directly or indirectly considered by Acting Secretary Wolf in

   connection with his July 28, 2020 decision.

           4.          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

   is true and correct.


   Dated: September 4, 2020
                                                     j   LIANLACKWELL
                                                     Deputy Executive Secretary
                                                     United States Department of Homeland Security
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                                                                                                A
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    ‘Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the United
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       Memorandum Entitled “Exercising Prosecutorial Discretion with Respect
       to Individuals Who Came to the United States as Children” (July 28,
       2020)
     2 Secretary Janet Napolitano, Exercising Prosecutorial Discretion with            9-11
       Respect to Individuals Who Came to the United States as Children (June
       15, 2012)
     3 Acting Secretary Elaine C. Duke, Rescission of the June 15, 2012                12-16
       Memorandum Entitled “Exercising Prosecutorial Discretion with Respect
       to Individuals Who Came to the United States as Children” (Sept. 5, 2017)
     4 Statement from Acting Secretary Duke on the Rescission Of Deferred              17-19
       Action For Childhood Arrivals (DACA) (Sept. 5, 2017)
     5 Memorandum from Secretary Kirstjen M. Nielsen (June 22, 2018)                   20-22
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       2020)
     7 USCIS, DACA Performance Data, FY 2020 First Quarter (Apr. 20, 2020)             38-45
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    11 DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891 (June 18, 2020)           309-382
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    13 Regents of Univ. of Cal. v. DHS, 908 F.3d 476 (9th Cir. Nov. 8, 2018)          418-467
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    15 Regents of Univ. of Cal. v DHS, 279 F. Supp. 3d 1011 (N.D. Cal. Jan. 9,          481-520
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    16 NAACP v. Trump, No. 17-1907, ECF No. 32 (D.D.C. Aug. 17, 2018)                   521-529
    17 NAACP v. Trump, 315 F. Supp. 3d 457 (D.D.C. Aug. 3, 2018)                        530-547
    18 NAACP v. Trump, 298 F. Supp. 3d 209 (D.D.C. Apr. 24, 2018)                       548-588
    19 Casa De Maryland v. DHS, 284 F. Supp. 3d 758 (D. Md. Mar. 5, 2018)               589-610
    20 Batalla Vidal v. Nielsen, 291 F. Supp. 3d 260 (E.D.N.Y. Mar. 29, 2018)           611-637
    21 Batalla Vidal v. Nielsen, 279 F. Supp. 3d 401 (E.D.N.Y. Feb. 13, 2018)           638-675
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    29 Amicus Brief, Eagle Forum Education and Legal Defense Fund in support           3510-3523
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    30 Amicus Brief, Immigration Law Reform Institute in support of Petitioners,       3524-3560
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    31 Amici Brief, States of Texas et al in support of Petitioners, Nos. 18-587,      3561-3595
       18-588, 18-589 (Dec. 6, 2018)
    32 Amici Brief, Citizens United et al in support of Petitioners, Nos. 18-587,      3596-3626
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    36 Certiorari Opposition, Batalla Vidal et al, No. 18-588 (Dec. 17, 2018)          3758-3784
    37 Certiorari Opposition, States of New York et al, No. 18-588 (Dec. 17,           3785-3830
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    38 Certiorari Opposition, NAACP et al, No. 18-589 (Dec. 17, 2018)                  3831-3870
    39 Certiorari Reply, No. 18-587 (Jan. 4, 2019)                                     3871-3878
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    43 Respondents’ Brief, States of California et al (Sept. 27, 2019)                 3991-4059
    44 Respondents’ Brief, DACA Recipients et al (Sept. 27, 2019)                      4060-4138
    45 Respondents’ Brief, Regents of Univ. of Cal. et al (Sept 27, 2019)              4139-4218
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    47 Respondents’ Brief, States of New York et al (Sept. 27, 2019)                   4294-4361
    48 Petitioners’ Reply (Oct. 28, 2019)                                              4362-4390
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                                C.        Amici Curiae Merits Stage Briefs
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    52 Brief of the Cato Institute et al in support of Petitioners (Aug. 26, 2019)     4478-4514
    53 Brief of Save Jobs USA et al in support of Petitioners (Aug. 26, 2019)          4515-4536
    54 Brief of Southeastern Legal Foundation in support of Petitioners                4537-4564
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    56 Brief of Citizens United et al in support of Petitioners (Aug. 26, 2019)        4587-4624
    57 Brief of States of Texas et al in support of Petitioners (Aug. 27, 2019)        4625-4674
    58 Brief of DACA Recipients and New Jersey in support of Respondents               4675-4706
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    59 Brief of National Queer Asian Pacific Islander Alliance et al in support of     4707-4759
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    61 Brief of United We Dream and 50 Organizations in support of                    4780-4830
       Respondents (Oct. 2, 2019)
    62 Brief of Current and Former Prosecutors and Law Enforcement Leaders in         4831-4871
       support of Respondents (Oct. 3, 2019)
    63 Brief of Government of the United Mexican States in support of                 4872-4920
       Respondents (Oct. 3, 2019)
    64 Brief of Nineteen Colleges and Universities in support of Respondents          4921-4951
       (Oct. 3, 2019)
    65 Brief of 143 U.S. Business Associations and Companies in support of            4952-5013
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    66 Brief of Current Members of Congress and Bipartisan Former Members of          5014-5068
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    67 Brief of Former Homeland Security and Immigrantion Officials in support        5069-5112
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    68 Brief for Institutions of Higher Education in support of Respondents (Oct.     5113-5162
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    69 Brief of Administrative Law Practitioners in support of Respondents (Oct.      5163-5203
       4, 2019)
    70 Brief of Former National Security Officials in support of Respondents          5204-5237
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    71 Brief of the National Education Association and National PTA in support        5238-5280
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    72 Brief for the States of Nevada et al in support of Respondents (Oct. 4,        5281-5306
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    73 Brief of Service Employees International Union et al in support of             5307-5338
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    74 Brief of NAACP Legal Defense and Educational Fund et al in support of          5339-5384
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    75 Brief of American Historical Association et al in support of Respondents       5385-5430
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    76 Brief for Association of American Medical Colleges et al in support of         5431-5476
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    77 Brief of National School Boards Association et al in support of                5477-5525
       Respondents (Oct. 4, 2019)
    78 Brief of Alianza Americans and 10 Other Immigration Rights Orgs. in            5526-5551
       support of Respondents (Oct. 4, 2019)


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    79 Brief of Public Citizens et al in support of Respondents (Oct. 4, 2019)       5552-5578
    80 Brief of Teach for America Inc. in support of Respondents (Oct. 4, 2019)      5579-5612
    81 Brief of National Association of Home Builders et al in support of            5613-5644
       Respondents (Oct. 4, 2019)
    82 Brief for Adminisrative Law Scholars in support of Respondents                5645-5667
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    83 Brief of Former Service Secretaries in support of Respondents (Oct. 4,        5668-5710
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    84 Brief of the United States Conference of Catholic Bishops and other           5711-5743
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    85 Brief of 109 Cities, Counties, Municipalities, and Local Government           5744-5810
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    87 Brief of Public Interest Law Center et al in support of Respondents (Oct.     5878-5909
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    88 Brief of Empirical Scholars in support of Respondents (Oct. 4, 2019)          5910-5957
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       et al in support of Respondents (Oct. 9, 2019)
    90 Brief of Lawyers Committee for Civil Rights Under Law in support of           6012-6045
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    91 Brief of 127 Religious Orgs. in support of Respondents (Oct. 18, 2019)        6046-6080
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                   VII.   Letters Received Regarding DACA After June 18, 2020
    94 Congressional Letter to the President (June 22, 2020)                         6180-6183
    95 Congressional Letter to USCIS (July 1, 2020)                                  6184-6187
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    97 NYC Mayors Office of Immigrant Affairs, Letter to DHS (July 6, 2020),         6196-6198
       and DHS Response (July 10, 2020)
    98 Evangelical Immigration Table, Letter to the President (July 8, 2020)         6199-6200
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                                                                         PRIVILEGE LOG
                                Privileged documents directly or indirectly considered by Acting Secretary Chad F. Wolf
                                                                                                                                                                B
                                                  in connection with his July 28, 2020 Memorandum

No.   Document           Date      Email To / Recipients                  Email From /      Email CC           Grounds for         General Subject Matter /
      Type                                                                Author                               Withholding         Privilege Description
 1    Memorandum         6/20/20   Law, Robert (USCIS); Nuebel Kovarik,   King, Alexander                      Deliberative        Pre-decisional, draft document
                                   Kathy (USCIS); Edlow, Joseph           (USCIS)                              Process Privilege   regarding options for path forward
                                   (USCIS); Whetstone, Trevor (DHS);                                                               regarding DACA.
                                   Piateski, Jennifer (USCIS); Jacobs,
                                   Elizabeth (USCIS)
 2    Memorandum         6/16/20   McCleary, Stephen (DHS); Bell,         Drake, Johnetta   ESEC-BBIC;         Attorney Client     Draft, pre-decisional, deliberative
                                   Stephen (USCIS); Barrow, Clark         (USCIS)           Browne, Rene       Privilege;          document - legal and policy options
                                   (DHS); Palmer, David (DHS); OGC                          (DHS); Baroukh,    Attorney Work       and advice in anticipation of
                                   Exec Sec; Policy Exec Sec; Gilmer,                       Nader (DHS);       Product;            possible SCOTUS decisions.
                                   Chadwick (DHS); USCIS Exec Sec;                          Kelliher, Brian    Deliberative
                                   Nuebel Kovarik, Kathy (USCIS); Dove,                     (DHS); King,       Process Privilege
                                   Stephen (USCIS); Penn, Melissa                           Alexander
                                   (USCIS); Edlow, Joseph (USCIS);                          (USCIS); Bailey,
                                   Highsmith, AnnMarie (USCIS);                             Morgan (USCIS)
                                   Mizelle, Chad (DHS); Maher, Joseph
                                   (DHS); Olowski, Lew (DHS)
 3    Memorandum         6/23/20   Cuccinelli, Kenneth (DHS); Edlow,      Mizelle, Chad                        Attorney Client     Pre-decisional, draft memorandum
                                   Joseph (USCIS)                         (DHS)                                Privilege;          regarding DACA policy, including
                                                                                                               Attorney Work       input from attorneys reflecting legal
                                                                                                               Product;            advice, including in anticipation of
                                                                                                               Deliberative        litigation.
                                                                                                               Process Privilege
 4    Memorandum         6/23/20   Cuccinelli, Kenneth (DHS); Edlow,      Mizelle, Chad                        Attorney Client     Pre-decisional, draft memorandum
                                   Joseph (USCIS)                         (DHS)                                Privilege;          regarding DACA policy, including
                                                                                                               Attorney Work       input from attorneys reflecting legal
                                                                                                               Product;            advice, including in anticipation of
                                                                                                               Deliberative        litigation.
                                                                                                               Process Privilege
 5    Email              6/20/20   Edlow, Joseph (USCIS); Nuebel          King, Alexander                      Deliberative        Pre-decisional, deliberative
      (attaching Nos.              Kovarik, Kathy (USCIS); Law, Robert    (USCIS)                              Process Privilege   communications regarding DACA
      6, 7)                        (USCIS); Whetstone, Trevor (DHS)                                                                decision.




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No.   Document      Date      Email To / Recipients                  Email From /      Email CC          Grounds for         General Subject Matter /
      Type                                                           Author                              Withholding         Privilege Description
 6    Memorandum    5/15/18   Edlow, Joseph (USCIS); Nuebel          King, Alexander                     Deliberative        Pre-decisional, deliberative
                              Kovarik, Kathy (USCIS); Law, Robert    (USCIS)                             Process Privilege   communications regarding DACA
                              (USCIS); Whetstone, Trevor (DHS)                                                               decision.




 7    Memorandum    6/19/20   Edlow, Joseph (USCIS); Nuebel          King, Alexander                     Attorney Client     Pre-decisional, deliberative
                              Kovarik, Kathy (USCIS); Law, Robert    (USCIS)                             Privilege;          communications regarding DACA
                              (USCIS); Whetstone, Trevor (DHS)                                           Attorney Work       decision, as well as discussions of
                                                                                                         Product;            legal advice relating to past
                                                                                                         Deliberative        litigation.
                                                                                                         Process Privilege
 8    Memorandum    6/16/20   Bell, Stephen (USCIS); Barrow, Clark   McCleary,         ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative draft
                              (DHS); Palmer, David (DHS); OGC        Stephen (DHS)     Browne, Rene      Privilege;          memorandum regarding legal and
                              Exec Sec; Policy Exec Sec; Gilmer,                       (DHS); Baroukh,   Attorney Work       policy options and advice in
                              Chadwick (DHS); USCIS Exec Sec;                          Nader (DHS);      Product;            anticipation of possible SCOTUS
                              Nuebel Kovarik, Kathy (USCIS); Dove,                     Kelliher, Brian   Deliberative        decisions.
                              Stephen (USCIS); Davis, Patrice                          (DHS)             Process Privilege
                              (USCIS); Penn, Melissa (USCIS);
                              Drake, Johnetta (USCIS); Edlow,
                              Joseph (USCIS); Highsmith, AnnMarie
                              (USCIS); Mizelle, Chad (DHS); Maher,
                              Joseph (DHS); Olowski, Lew (DHS)
 9    Memorandum    6/16/20   Bell, Stephen (USCIS); Barrow, Clark   McCleary,         ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative draft
                              (DHS); Palmer, David (DHS); OGC        Stephen (DHS)     Browne, Rene      Privilege;          memorandum regarding legal and
                              Exec Sec; Policy Exec Sec; Gilmer,                       (DHS); Baroukh,   Attorney Work       policy options and advice in
                              Chadwick (DHS); USCIS Exec Sec;                          Nader (DHS);      Product;            anticipation of possible SCOTUS
                              Nuebel Kovarik, Kathy (USCIS); Dove,                     Kelliher, Brian   Deliberative        decisions.
                              Stephen (USCIS); Davis, Patrice                          (DHS)             Process Privilege
                              (USCIS); Penn, Melissa (USCIS);
                              Drake, Johnetta (USCIS); Edlow,
                              Joseph (USCIS); Highsmith, AnnMarie
                              (USCIS); Mizelle, Chad (DHS); Maher,
                              Joseph (DHS); Olowski, Lew (DHS)




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No.   Document          Date      Email To / Recipients                   Email From /      Email CC          Grounds for         General Subject Matter /
      Type                                                                Author                              Withholding         Privilege Description
10    Email             6/16/20   Maher, Joseph (DHS); McCleary,          Kelliher, Brian   ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative
                                  Stephen (DHS); Barrow, Clark (DHS);     (DHS)             Browne, Rene      Privilege;          communications regarding legal and
                                  Palmer, David (DHS); OGC Exec Sec;                        (DHS); Baroukh,   Attorney Work       policy options and advice in
                                  Policy Exec Sec; Gilmer, Chadwick                         Nader (DHS)       Product;            anticipation of possible SCOTUS
                                  (DHS); USCIS Exec Sec; Nuebel                                               Deliberative        decisions.
                                  Kovarik, Kathy (USCIS); Dove,                                               Process Privilege
                                  Stephen (USCIS); Davis, Patrice
                                  (USCIS); Penn, Melissa (USCIS);
                                  Drake, Johnetta (USCIS); Edlow,
                                  Joseph (USCIS); Highsmith, AnnMarie
                                  (USCIS); Bell, Stephen (USCIS);
                                  Mizelle, Chad (DHS); Olowski, Lew
                                  (DHS)
11    Email             6/16/20   McCleary, Stephen (DHS); Barrow,        Maher, Joseph     ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative
      (attaching No.              Clark (DHS); Palmer, David (DHS);       (DHS)             Browne, Rene      Privilege;          communications regarding legal and
      12)                         OGC Exec Sec; Policy Exec Sec;                            (DHS); Baroukh,   Attorney Work       policy options and advice in
                                  Gilmer, Chadwick (DHS); USCIS Exec                        Nader (DHS);      Product;            anticipation of possible SCOTUS
                                  Sec; Nuebel Kovarik, Kathy (USCIS);                       Kelliher, Brian   Deliberative        decisions.
                                  Dove, Stephen (USCIS); Davis, Patrice                     (DHS)             Process Privilege
                                  (USCIS); Penn, Melissa (USCIS);
                                  Drake, Johnetta (USCIS); Edlow,
                                  Joseph (USCIS); Highsmith, AnnMarie
                                  (USCIS); Bell, Stephen (USCIS);
                                  Mizelle, Chad (DHS); Olowski, Lew
                                  (DHS)
12    Memorandum        6/16/20                                                                               Attorney Client     Pre-decisional, deliberative draft
                                                                                                              Privilege;          memorandum regarding legal and
                                                                                                              Attorney Work       policy options and advice in
                                                                                                              Product;            anticipation of possible SCOTUS
                                                                                                              Deliberative        decisions.
                                                                                                              Process Privilege
13    Memorandum        6/16/20   McCleary, Stephen (DHS); Barrow,        Bell, Stephen     ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative draft
                                  Clark (DHS); Palmer, David (DHS);       (USCIS)           Browne, Rene      Privilege;          memorandum regarding legal and
                                  OGC Exec Sec; Policy Exec Sec;                            (DHS); Baroukh,   Attorney Work       policy options and advice in
                                  Gilmer, Chadwick (DHS); USCIS Exec                        Nader (DHS);      Product;            anticipation of possible SCOTUS
                                  Sec; Nuebel Kovarik, Kathy (USCIS);                       Kelliher, Brian   Deliberative        decisions.
                                  Dove, Stephen (USCIS); Davis, Patrice                     (DHS)             Process Privilege
                                  (USCIS); Penn, Melissa (USCIS);
                                  Drake, Johnetta (USCIS); Edlow,
                                  Joseph (USCIS); Highsmith, AnnMarie
                                  (USCIS); Mizelle, Chad (DHS); Maher,
                                  Joseph (DHS); Olowski, Lew (DHS)



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                                                           5963
No.   Document          Date      Email To / Recipients                   Email From /    Email CC          Grounds for         General Subject Matter /
      Type                                                                Author                            Withholding         Privilege Description
14    Memorandum        6/16/20   Barrow, Clark (DHS); Palmer, David      McCleary,       ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative draft
                                  (DHS); OGC Exec Sec; Policy Exec        Stephen (DHS)   Browne, Rene      Privilege;          memorandum regarding legal and
                                  Sec; Gilmer, Chadwick (DHS); USCIS                      (DHS); Baroukh,   Attorney Work       policy options and advice in
                                  Exec Sec; Nuebel Kovarik, Kathy                         Nader (DHS);      Product;            anticipation of possible SCOTUS
                                  (USCIS); Dove, Stephen (USCIS);                         Kelliher, Brian   Deliberative        decisions.
                                  Davis, Patrice (USCIS); Penn, Melissa                   (DHS)             Process Privilege
                                  (USCIS); Drake, Johnetta (USCIS);
                                  Edlow, Joseph (USCIS); Highsmith,
                                  AnnMarie (USCIS); Bell, Stephen
                                  (USCIS); Mizelle, Chad (DHS); Maher,
                                  Joseph (DHS); Olowski, Lew (DHS)
15    Email             7/12/20   Edlow, Joseph (USCIS); Gountanis,       Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative
      (attaching Nos.             John (DHS); Glabe, Scott (DHS)          (DHS)                             Privilege;          communications regarding DACA
      16, 17)                                                                                               Attorney Work       policy including internal comments
                                                                                                            Product;            from attorneys providing legal
                                                                                                            Deliberative        advice, including in anticipation of
                                                                                                            Process Privilege   litigation.
16    Memorandum        7/11/20   Edlow, Joseph (USCIS); Gountanis,       Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative draft
                                  John (DHS); Glabe, Scott (DHS)          (DHS)                             Privilege;          memorandum regarding DACA
                                                                                                            Attorney Work       policy including internal comments
                                                                                                            Product;            from attorneys providing legal
                                                                                                            Deliberative        advice, including in anticipation of
                                                                                                            Process Privilege   litigation.
17    Memorandum        7/11/20   Edlow, Joseph (USCIS); Gountanis,       Mizelle, Chad                     Attorney Client     Pre-decisional,deliberatve draft
                                  John (DHS); Glabe, Scott (DHS)          (DHS)                             Privilege;          memorandum regarding DACA
                                                                                                            Attorney Work       policy including input from
                                                                                                            Product;            attorneys providing legal advice,
                                                                                                            Deliberative        including in anticipation of
                                                                                                            Process Privilege   litigation.
18    Memorandum        6/19/20   Wolf, Chad (DHS)                        Cuccinelli,     Edlow, Joseph     Attorney Client     Pre-decisional, deliberative draft
                                                                          Kenneth (DHS)   (USCIS);          Privilege;          memorandum regarding DACA
                                                                                          Mizelle, Chad     Deliberative        policy, seeking legal review and
                                                                                          (DHS)             Process Privilege   advice.
19    Memorandum        6/29/20   Wolf, Chad (DHS); Cuccinelli, Kenneth   Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative draft
                                  (DHS); Gountanis, John (DHS);           (DHS)                             Privilege;          memorandum regarding DACA
                                  Erickson, Scott (DHS); Houlton, Tyler                                     Attorney Work       policy, including input from
                                  (DHS); Alfonso-Royals, Angelica                                           Product;            attorneys reflecting legal advice,
                                  (DHS); Edlow, Joseph (USCIS)                                              Deliberative        including in anticipation of
                                                                                                            Process Privilege   litigation.




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                                                      5964
No.   Document     Date      Email To / Recipients                   Email From /         Email CC           Grounds for         General Subject Matter /
      Type                                                           Author                                  Withholding         Privilege Description
20    Memorandum   6/15/20   Edlow, Joseph (USCIS)                   Piateski, Jennifer                      Attorney Client     Pre-decisional, deliberative draft
                                                                     (USCIS)                                 Privilege;          document - legal and policy options
                                                                                                             Attorney Work       and advice in anticipation of
                                                                                                             Product;            possible SCOTUS decisions.
                                                                                                             Deliberative
                                                                                                             Process Privilege
21    Memorandum   6/19/20   Wolf, Chad (DHS); Cuccinelli, Kenneth   Mizelle, Chad        Gountanis, John    Attorney Client     Pre-decisional, draft memorandum
                             (DHS)                                   (DHS)                (DHS); Alfonso-    Privilege;          regarding DACA policy, including
                                                                                          Royals, Angelica   Attorney Work       input from attorneys reflecting legal
                                                                                          (DHS); Edlow,      Product;            advice, including in anticipation of
                                                                                          Joseph (USCIS)     Deliberative        litigation.
                                                                                                             Process Privilege
22    Memorandum   6/15/20   Edlow, Joseph (USCIS)                   Patrick, Shirley                        Attorney Client     Pre-decisional, deliberative draft
                                                                     (USCIS)                                 Privilege;          document - legal and policy options
                                                                                                             Attorney Work       and advice in anticipation of
                                                                                                             Product;            possible SCOTUS decisions.
                                                                                                             Deliberative
                                                                                                             Process Privilege
23    Email        6/22/20   Edlow, Joseph (USCIS); Mizelle, Chad    Cuccinelli,                             Attorney Client     Pre-decisional, deliberative
                             (DHS)                                   Kenneth (DHS)                           Privilege;          communications regarding DACA
                                                                                                             Deliberative        decision, including a request for
                                                                                                             Process Privilege   legal advice relating to the decision.
24    Memorandum   6/29/20   Edlow, Joseph (USCIS)                   Mizelle, Chad                           Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)                                   Privilege;          memorandum regarding DACA
                                                                                                             Attorney Work       policy, including input from
                                                                                                             Product;            attorneys reflecting legal advice,
                                                                                                             Deliberative        including in anticipation of
                                                                                                             Process Privilege   litigation.
25    Email        6/21/20   Edlow, Joseph (USCIS); King,            Piateski, Jennifer   Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative
                             Alexander (USCIS); Jacobs, Elizabeth    (USCIS)              Kathy (USCIS);     Privilege;          communications regarding DACA
                             (USCIS)                                                      Law, Robert        Attorney Work       decision, including a discussion of
                                                                                          (USCIS);           Product;            legal advice relating to the decision.
                                                                                          Whetstone,         Deliberative
                                                                                          Trevor (DHS)       Process Privilege
26    Memorandum   6/19/20   Trujillo, Jessica (DHS)                 Mizelle, Chad        Cuccinelli,        Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)                Kenneth (DHS);     Privilege;          memorandum regarding DACA
                                                                                          Edlow, Joseph      Attorney Work       policy, including input from
                                                                                          (USCIS)            Product;            attorneys reflecting legal advice,
                                                                                                             Deliberative        including in anticipation of
                                                                                                             Process Privilege   litigation.




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                                                          5965
No.   Document         Date      Email To / Recipients                   Email From /         Email CC           Grounds for         General Subject Matter /
      Type                                                               Author                                  Withholding         Privilege Description
27    Memorandum       6/19/20   Edlow, Joseph (USCIS)                   Mizelle, Chad        Mizelle, Chad      Attorney Client     Pre-decisional, draft memorandum
                                                                         (DHS)                (DHS)              Privilege;          regarding DACA policy including
                                                                                                                 Attorney Work       internal comments from attorneys
                                                                                                                 Product;            providing legal advice, including in
                                                                                                                 Deliberative        anticipation of litigation.
                                                                                                                 Process Privilege
28    Email            6/21/20   King, Alexander (USCIS); Jacobs,        Piateski, Jennifer   Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative
                                 Elizabeth (USCIS); Edlow, Joseph        (USCIS)              Kathy (USCIS);     Privilege;          communications regarding DACA
                                 (USCIS)                                                      Law, Robert        Attorney Work       decision, including a discussion of
                                                                                              (USCIS);           Product;            legal advice relating to the decision.
                                                                                              Whetstone,         Deliberative
                                                                                              Trevor (DHS)       Process Privilege
29    Memorandum       6/19/20   Edlow, Joseph (USCIS)                   Cuccinelli,          Cuccinelli,        Attorney Client     Pre-decisional, draft memorandum
                                                                         Kenneth (DHS)        Kenneth (DHS)      Privilege;          regarding DACA policy, including
                                                                                                                 Attorney Work       input from attorneys reflecting legal
                                                                                                                 Product;            advice, including in anticipation of
                                                                                                                 Deliberative        litigation.
                                                                                                                 Process Privilege
30    Email            6/21/20   Piateski, Jennifer (USCIS); Jacobs,     King, Alexander      Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative
                                 Elizabeth (USCIS); Edlow, Joseph        (USCIS)              Kathy (USCIS);     Privilege;          communications regarding DACA
                                 (USCIS)                                                      Law, Robert        Attorney Work       decision, including a discussion of
                                                                                              (USCIS);           Product;            legal advice relating to the decision.
                                                                                              Whetstone,         Deliberative
                                                                                              Trevor (DHS)       Process Privilege
31    Email            6/21/20   Piateski, Jennifer (USCIS); Jacobs,     King, Alexander      Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative
      (attaching No.             Elizabeth (USCIS); Edlow, Joseph        (USCIS)              Kathy (USCIS);     Privilege;          communications regarding DACA
      32)                        (USCIS)                                                      Law, Robert        Attorney Work       decision, including a discussion of
                                                                                              (USCIS);           Product;            legal advice relating to the decision.
                                                                                              Whetstone,         Deliberative
                                                                                              Trevor (DHS)       Process Privilege
32    Memorandum       6/16/20   McGill, Greyson (DHS); Drake,           Barrow, Clark        ESEC-BBIC;         Attorney Client     Pre-decisional, deliberative draft
                                 Johnetta (USCIS); McCleary, Stephen     (DHS)                Browne, Rene       Privilege;          document - legal and policy options
                                 (DHS); Bell, Stephen (USCIS); Palmer,                        (DHS); Baroukh,    Attorney Work       and advice in anticipation of
                                 David (DHS); OGC Exec Sec; Policy                            Nader (DHS);       Product;            possible SCOTUS decisions.
                                 Exec Sec; Gilmer, Chadwick (DHS);                            Kelliher, Brian    Deliberative
                                 USCIS Exec Sec; Nuebel Kovarik,                              (DHS); King,       Process Privilege
                                 Kathy (USCIS); Dove, Stephen                                 Alexander
                                 (USCIS); Penn, Melissa (USCIS);                              (USCIS); Bailey,
                                 Edlow, Joseph (USCIS); Highsmith,                            Morgan (USCIS)
                                 AnnMarie (USCIS); Mizelle, Chad
                                 (DHS); Maher, Joseph (DHS); Olowski,
                                 Lew (DHS)



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                                                      5966
No.   Document     Date      Email To / Recipients               Email From /         Email CC            Grounds for         General Subject Matter /
      Type                                                       Author                                   Withholding         Privilege Description
33    Email        6/21/20   Jacobs, Elizabeth (USCIS); King,    Piateski, Jennifer   Nuebel Kovarik,     Attorney Client     Pre-decisional, deliberative draft
                             Alexander (USCIS); Edlow, Joseph    (USCIS)              Kathy (USCIS);      Privilege;          communications regarding DACA
                             (USCIS)                                                  Law, Robert         Attorney Work       decision, including a discussion of
                                                                                      (USCIS);            Product;            legal advice relating to the decision.
                                                                                      Whetstone,          Deliberative
                                                                                      Trevor (DHS)        Process Privilege
34    Email        6/21/20   Piateski, Jennifer (USCIS); King,   Jacobs, Elizabeth    Nuebel Kovarik,     Attorney Client     Pre-decisional, deliberative draft
                             Alexander (USCIS); Edlow, Joseph    (USCIS)              Kathy (USCIS);      Privilege;          communications regarding DACA
                             (USCIS)                                                  Law, Robert         Attorney Work       decision, including a discussion of
                                                                                      (USCIS);            Product;            legal advice relating to the decision.
                                                                                      Whetstone,          Deliberative
                                                                                      Trevor (DHS)        Process Privilege
35    Email        6/20/20   Edlow, Joseph (USCIS); Piateski,    King, Alexander      Nuebel Kovarik,     Attorney Client     Pre-decisional, deliberative draft
                             Jennifer (USCIS)                    (USCIS)              Kathy (USCIS);      Privilege;          communications regarding DACA
                                                                                      Jacobs, Elizabeth   Attorney Work       decision, including a discussion of
                                                                                      (USCIS); Law,       Product;            legal advice relating to the decision.
                                                                                      Robert (USCIS);     Deliberative
                                                                                      Whetstone,          Process Privilege
                                                                                      Trevor (DHS)
36    Memorandum   6/20/20   Edlow, Joseph (USCIS); Piateski,    King, Alexander      Nuebel Kovarik,     Attorney Client     Pre-decisional, deliberative draft
                             Jennifer (USCIS)                    (USCIS)              Kathy (USCIS);      Privilege;          document regarding options for path
                                                                                      Jacobs, Elizabeth   Attorney Work       forward regarding DACA including
                                                                                      (USCIS); Law,       Product;            legal advice.
                                                                                      Robert (USCIS);     Deliberative
                                                                                      Whetstone,          Process Privilege
                                                                                      Trevor (DHS)
37    Memorandum   6/19/20   Cuccinelli, Kenneth (DHS); Edlow,   Mizelle, Chad                            Attorney Client     Pre-decisional, deliberative draft
                             Joseph (USCIS)                      (DHS)                                    Privilege;          memorandum regarding DACA
                                                                                                          Attorney Work       policy, including input from
                                                                                                          Product;            attorneys reflecting legal advice,
                                                                                                          Deliberative        including in anticipation of
                                                                                                          Process Privilege   litigation.
38    Email        6/20/20   Edlow, Joseph (USCIS); Piateski,    King, Alexander      Nuebel Kovarik,     Attorney Client     Pre-decisional, deliberative
                             Jennifer (USCIS)                    (USCIS)              Kathy (USCIS);      Privilege;          communications regarding options
                                                                                      Jacobs, Elizabeth   Deliberative        for path forward regarding DACA,
                                                                                      (USCIS); Law,       Process Privilege   seeking legal and policy review.
                                                                                      Robert (USCIS);
                                                                                      Whetstone,
                                                                                      Trevor (DHS)




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                                                      5967
No.   Document     Date      Email To / Recipients                  Email From /         Email CC             Grounds for         General Subject Matter /
      Type                                                          Author                                    Withholding         Privilege Description
39    Memorandum   6/20/20   Edlow, Joseph (USCIS)                  Piateski, Jennifer   Nuebel Kovarik,      Attorney Client     Pre-decisional, deliberative draft
                                                                    (USCIS)              Kathy (USCIS);       Privilege;          document regarding options for path
                                                                                         King, Alexander      Deliberative        forward regarding DACA, sent
                                                                                         (USCIS); Jacobs,     Process Privilege   seeking legal and policy review.
                                                                                         Elizabeth
                                                                                         (USCIS); Law,
                                                                                         Robert (USCIS);
                                                                                         Whetstone,
                                                                                         Trevor (DHS)
40    Memorandum   6/9/20    Edlow, Joseph (USCIS); Glabe, Scott    Maher, Joseph        Mizelle, Chad        Attorney Client     Pre-decisional, deliberative draft
                             (DHS)                                  (DHS)                (DHS); Browne,       Privilege;          document - legal and policy options
                                                                                         Rene (DHS)           Attorney Work       and advice in anticipation of
                                                                                                              Product;            possible SCOTUS decisions.
                                                                                                              Deliberative
                                                                                                              Process Privilege
41    Email        6/20/20   Nuebel Kovarik, Kathy (USCIS); Law,    King, Alexander                           Attorney Client     Pre-decisional, deliberative
                             Robert (USCIS); Edlow, Joseph          (USCIS)                                   Privilege;          communications regarding options
                             (USCIS); Whetstone, Trevor (DHS);                                                Deliberative        for path forward regarding DACA,
                             Piateski, Jennifer (USCIS); Jacobs,                                              Process Privilege   seeking legal and policy review
                             Elizabeth (USCIS)
42    Memorandum   7/7/20    Edlow, Joseph (USCIS)                  Franke, Evan         Piateski, Jennifer   Attorney Client     Pre-decisional, deliberative
                                                                    (USCIS)              (USCIS);             Privilege;          communications regarding DACA
                                                                                         Highsmith,           Attorney Work       decision, as well as discussions of
                                                                                         AnnMarie             Product;            legal advice relating to ongoing
                                                                                         (USCIS);             Deliberative        litigation.
                                                                                         Groom, Molly         Process Privilege
                                                                                         (USCIS); Miles,
                                                                                         John (USCIS);
                                                                                         Roll, Annemarie
                                                                                         (USCIS)
43    Memorandum   6/20/20   King, Alexander (USCIS); Law, Robert   Nuebel Kovarik,                           Attorney Client     Pre-decisional, deliberative draft
                             (USCIS); Edlow, Joseph (USCIS);        Kathy (USCIS)                             Privilege;          document regarding DACA policy.
                             Whetstone, Trevor (DHS); Piateski,                                               Deliberative
                             Jennifer (USCIS); Jacobs, Elizabeth                                              Process Privilege
                             (USCIS)




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                                                          5968
No.   Document         Date      Email To / Recipients                   Email From /      Email CC             Grounds for         General Subject Matter /
      Type                                                               Author                                 Withholding         Privilege Description
44    Memorandum       7/6/20    Edlow, Joseph (USCIS)                   Franke, Evan      Piateski, Jennifer   Attorney Client     Pre-decisional, deliberative
                                                                         (USCIS)           (USCIS);             Privilege;          document regarding DACA
                                                                                           Highsmith,           Attorney Work       decision, as well as discussions of
                                                                                           AnnMarie             Product;            legal advice relating to ongoing
                                                                                           (USCIS);             Deliberative        litigation.
                                                                                           Groom, Molly         Process Privilege
                                                                                           (USCIS); Miles,
                                                                                           John (USCIS);
                                                                                           Roll, Annemarie
                                                                                           (USCIS)
45    Email            6/16/20   Edlow, Joseph (USCIS)                   King, Alexander                        Deliberative        Predecisional, deliberative
      (attaching No.                                                     (USCIS)                                Process Privilege   communications - policy options
      46)                                                                                                                           and advice in anticipation of
                                                                                                                                    possible SCOTUS decisions.
46    Memorandum       6/16/20   Edlow, Joseph (USCIS)                   King, Alexander                        Deliberative        Pre-decisional, deliberative draft
                                                                         (USCIS)                                Process Privilege   document - policy options and
                                                                                                                                    advice in anticipation of possible
                                                                                                                                    SCOTUS decisions.
47    Memorandum       6/16/20   McGill, Greyson (DHS); Drake,           Sepehri, Reza     ESEC-BBIC;           Attorney Client     Pre-decisional, deliberative draft
                                 Johnetta (USCIS); McCleary, Stephen     (DHS)             Browne, Rene         Privilege;          document - legal and policy options
                                 (DHS); Bell, Stephen (USCIS); Barrow,                     (DHS); Baroukh,      Attorney Work       and advice in anticipation of
                                 Clark (DHS); Palmer, David (DHS);                         Nader (DHS);         Product;            possible SCOTUS decisions.
                                 OGC Exec Sec; Policy Exec Sec;                            Kelliher, Brian      Deliberative
                                 Gilmer, Chadwick (DHS); USCIS Exec                        (DHS); King,         Process Privilege
                                 Sec; Nuebel Kovarik, Kathy (USCIS);                       Alexander
                                 Dove, Stephen (USCIS); Penn, Melissa                      (USCIS); Bailey,
                                 (USCIS); Edlow, Joseph (USCIS);                           Morgan (USCIS)
                                 Highsmith, AnnMarie (USCIS);
                                 Mizelle, Chad (DHS); Maher, Joseph
                                 (DHS); Olowski, Lew (DHS)
48    Memorandum       6/16/20   McGill, Greyson (DHS); Drake,           Barrow, Clark     ESEC-BBIC;           Attorney Client     Pre-decisional, deliberative draft
                                 Johnetta (USCIS); McCleary, Stephen     (DHS)             Browne, Rene         Privilege;          document - legal and policy options
                                 (DHS); Bell, Stephen (USCIS); Palmer,                     (DHS); Baroukh,      Attorney Work       and advice in anticipation of
                                 David (DHS); OGC Exec Sec; Policy                         Nader (DHS);         Product;            possible SCOTUS decisions.
                                 Exec Sec; Gilmer, Chadwick (DHS);                         Kelliher, Brian      Deliberative
                                 USCIS Exec Sec; Nuebel Kovarik,                           (DHS); King,         Process Privilege
                                 Kathy (USCIS); Dove, Stephen                              Alexander
                                 (USCIS); Penn, Melissa (USCIS);                           (USCIS); Bailey,
                                 Edlow, Joseph (USCIS); Highsmith,                         Morgan (USCIS)
                                 AnnMarie (USCIS); Mizelle, Chad
                                 (DHS); Maher, Joseph (DHS); Olowski,
                                 Lew (DHS)



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                                                          5969
No.   Document         Date      Email To / Recipients                  Email From /    Email CC           Grounds for         General Subject Matter /
      Type                                                              Author                             Withholding         Privilege Description
49    Memorandum       6/19/20   Cuccinelli, Kenneth (DHS); Trujillo,   Edlow, Joseph   Mizelle, Chad      Attorney Client     Pre-decisional, deliberative draft
                                 Jessica (DHS)                          (USCIS)         (DHS)              Privilege;          memorandum regarding DACA
                                                                                                           Attorney Work       policy, including input from
                                                                                                           Product;            attorneys reflecting legal advice,
                                                                                                           Deliberative        including in anticipation of
                                                                                                           Process Privilege   litigation.
50    Memorandum       6/21/20   Cuccinelli, Kenneth (DHS); Mizelle,    Edlow, Joseph                      Attorney Client     Pre-decisional, deliberative draft
                                 Chad (DHS)                             (USCIS)                            Privilege;          document regarding DACA
                                                                                                           Attorney Work       decision, including a discussion of
                                                                                                           Product;            legal advice relating to the decision.
                                                                                                           Deliberative
                                                                                                           Process Privilege
51    Memorandum       6/19/20   Mizelle, Chad (DHS)                    Edlow, Joseph   Mizelle, Chad      Attorney Client     Pre-decisional, deliberative draft
                                                                        (USCIS)         (DHS)              Privilege;          memorandum regarding DACA
                                                                                                           Attorney Work       policy, including input from
                                                                                                           Product;            attorneys reflecting legal advice,
                                                                                                           Deliberative        including in anticipation of
                                                                                                           Process Privilege   litigation.
52    Email            6/21/20   Piateski, Jennifer (USCIS); King,      Edlow, Joseph   Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative
      (attaching No.             Alexander (USCIS); Jacobs, Elizabeth   (USCIS)         Kathy (USCIS);     Privilege;          communications regarding DACA
      53)                        (USCIS)                                                Law, Robert        Deliberative        decision, including a discussion of
                                                                                        (USCIS);           Process Privilege   legal advice relating to the decision.
                                                                                        Whetstone,
                                                                                        Trevor (DHS)
53    Memorandum       6/21/20   Piateski, Jennifer (USCIS); King,      Edlow, Joseph   Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative draft
                                 Alexander (USCIS); Jacobs, Elizabeth   (USCIS)         Kathy (USCIS);     Privilege;          document regarding DACA
                                 (USCIS)                                                Law, Robert        Attorney Work       decision, including a discussion of
                                                                                        (USCIS);           Product;            legal advice relating to the decision.
                                                                                        Whetstone,         Deliberative
                                                                                        Trevor (DHS)       Process Privilege
54    Email            6/20/20   Piateski, Jennifer (USCIS)             Edlow, Joseph   Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative
                                                                        (USCIS)         Kathy (USCIS);     Privilege;          communications regarding DACA
                                                                                        King, Alexander    Deliberative        decision, including a discussion of
                                                                                        (USCIS); Jacobs,   Process Privilege   legal advice relating to the decision.
                                                                                        Elizabeth
                                                                                        (USCIS); Law,
                                                                                        Robert (USCIS);
                                                                                        Whetstone,
                                                                                        Trevor (DHS)




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                                                         5970
No.   Document        Date      Email To / Recipients                  Email From /    Email CC           Grounds for         General Subject Matter /
      Type                                                             Author                             Withholding         Privilege Description
55    Memorandum      6/20/20   Piateski, Jennifer (USCIS)             Edlow, Joseph   Nuebel Kovarik,    Attorney Client     Pre-decisional, deliberative draft
                                                                       (USCIS)         Kathy (USCIS);     Privilege;          document regarding DACA
                                                                                       King, Alexander    Attorney Work       decision, including a discussion of
                                                                                       (USCIS); Jacobs,   Product;            legal advice relating to the decision.
                                                                                       Elizabeth          Deliberative
                                                                                       (USCIS); Law,      Process Privilege
                                                                                       Robert (USCIS);
                                                                                       Whetstone,
                                                                                       Trevor (DHS)
56    Memorandum      7/23/20   Mizelle, Chad (DHS)                    Barrow, Clark                      Deliberative        Pre-decisional, draft memorandum
                                                                       (DHS)                              Process Privilege   regarding DACA policy.
57    Email           7/22/20   Mizelle, Chad (DHS); Gountanis, John   Edlow, Joseph   Cuccinelli,        Deliberative        Pre-decisional, deliberative
                                (DHS); Erickson, Scott (DHS);          (USCIS)         Kenneth (DHS)      Process Privilege   communications regarding DACA
                                Houlton, Tyler (DHS)                                                                          decision.
58    Briefing Book   6/16/20   Benz, Kellie (DHS)                     Benz, Kellie                       Attorney Client     Briefing book for the Senior
                                                                       (DHS)                              Privilege;          Official Performing the Duties of
                                                                                                          Attorney Work       Deputy Secretary of Homeland
                                                                                                          Product;            Security that includes pre-
                                                                                                          Deliberative        decisional, deliberative legal and
                                                                                                          Process Privilege   policy options and advice in
                                                                                                                              anticipation of possible SCOTUS
                                                                                                                              decisions, as well as pre-decisional,
                                                                                                                              deliberative discussions of matters
                                                                                                                              outside the scope of this litigation.
59    Briefing Book   6/17/20                                          de la Vara,                        Attorney Client     Briefing book for the Acting
                                                                       Hunter (DHS)                       Privilege;          Secretary of Homeland Security that
                                                                                                          Attorney Work       includes pre-decisional, deliberative
                                                                                                          Product;            legal and policy options and advice
                                                                                                          Deliberative        in anticipation of possible SCOTUS
                                                                                                          Process Privilege   decisions, as well as pre-decisional,
                                                                                                                              deliberative discussions of matters
                                                                                                                              outside the scope of this litigation.
60    Memorandum      7/13/20   Rascher, Mallory (DHS); Alfonso-       Barrow, Clark   Gountanis, John    Deliberative        Pre-decisional, deliberative draft
                                Royals, Angelica (DHS)                 (DHS)           (DHS)              Process Privilege   memorandum regarding DACA
                                                                                                                              policy.




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      Type                                                     Author                              Withholding         Privilege Description
61    Memorandum   7/28/20   Wolf, Chad (DHS); Barrow, Clark   Gountanis, John   Cuccinelli,       Attorney Client     Pre-decisional, deliberative draft
                             (DHS)                             (DHS)             Kenneth (DHS);    Privilege;          memorandum regarding DACA
                                                                                 Alfonso-Royals,   Attorney Work       policy, including input from
                                                                                 Angelica (DHS);   Product;            attorneys reflecting legal advice,
                                                                                 Mizelle, Chad     Deliberative        including in anticipation of
                                                                                 (DHS);            Process Privilege   litigation.
                                                                                 Woltornist,
                                                                                 Alexei (DHS);
                                                                                 McKinnis,
                                                                                 Melika (DHS)
62    Memorandum   7/28/20   Wolf, Chad (DHS); Barrow, Clark   Gountanis, John   Cuccinelli,       Attorney Client     Pre-decisional, deliberative draft
                             (DHS)                             (DHS)             Kenneth (DHS);    Privilege;          memorandum regarding DACA
                                                                                 Alfonso-Royals,   Attorney Work       policy including internal comments
                                                                                 Angelica (DHS);   Product;            from attorneys providing legal
                                                                                 Mizelle, Chad     Deliberative        advice, including in anticipation of
                                                                                 (DHS);            Process Privilege   litigation.
                                                                                 Woltornist,
                                                                                 Alexei (DHS);
                                                                                 McKinnis,
                                                                                 Melika (DHS)
63    Memorandum   7/28/20   Wolf, Chad (DHS)                  Gountanis, John   Cuccinelli,       Attorney Client     Pre-decisional, deliberative draft
                                                               (DHS)             Kenneth (DHS);    Privilege;          memorandum regarding DACA
                                                                                 Alfonso-Royals,   Attorney Work       policy including input from
                                                                                 Angelica (DHS);   Product;            attorneys providing legal advice,
                                                                                 Mizelle, Chad     Deliberative        including in anticipation of
                                                                                 (DHS);            Process Privilege   litigation.
                                                                                 Woltornist,
                                                                                 Alexei (DHS)
64    Memorandum   7/28/20   Wolf, Chad (DHS)                  Gountanis, John   Cuccinelli,       Attorney Client     Pre-decisional, deliberative draft
                                                               (DHS)             Kenneth (DHS);    Privilege;          memorandum regarding DACA
                                                                                 Alfonso-Royals,   Attorney Work       policy including internal comments
                                                                                 Angelica (DHS);   Product;            from attorneys providing legal
                                                                                 Mizelle, Chad     Deliberative        advice, including in anticipation of
                                                                                 (DHS);            Process Privilege   litigation.
                                                                                 Woltornist,
                                                                                 Alexei (DHS)
65    Memorandum   7/28/20   Cuccinelli, Kenneth (DHS)         Gountanis, John                     Attorney Client     Pre-decisional, draft memorandum
                                                               (DHS)                               Privilege;          regarding DACA policy including
                                                                                                   Attorney Work       internal comments from attorneys
                                                                                                   Product;            providing legal advice, including in
                                                                                                   Deliberative        anticipation of litigation.
                                                                                                   Process Privilege



                                                                                                                                                              12
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      Type                                                               Author                              Withholding         Privilege Description
66    Email             7/22/20   Edlow, Joseph (USCIS); Mizelle, Chad   Gountanis, John   Cuccinelli,       Deliberative        Pre-decisional, deliberative
                                  (DHS); Erickson, Scott (DHS);          (DHS)             Kenneth (DHS)     Process Privilege   communications regarding DACA
                                  Houlton, Tyler (DHS)                                                                           decision.
67    Memorandum        7/28/20   Gountanis, John (DHS)                  Mizelle, Chad                       Attorney Client     Pre-decisional, deliberative draft
                                                                         (DHS)                               Privilege;          memorandum regarding DACA
                                                                                                             Attorney Work       policy including internal comments
                                                                                                             Product;            from attorneys providing legal
                                                                                                             Deliberative        advice, including in anticipation of
                                                                                                             Process Privilege   litigation.
68    Memorandum        7/28/20   Gountanis, John (DHS)                  Mizelle, Chad                       Attorney Client     Pre-decisional, deliberative draft
                                                                         (DHS)                               Privilege;          memorandum regarding DACA
                                                                                                             Attorney Work       policy including internal comments
                                                                                                             Product;            from attorneys providing legal
                                                                                                             Deliberative        advice, including in anticipation of
                                                                                                             Process Privilege   litigation.
69    Memorandum        7/24/20   Cuccinelli, Kenneth (DHS)              Barrow, Clark     Alfonso-Royals,   Deliberative        Pre-decisional, deliberative draft
                                                                         (DHS)             Angelica (DHS);   Process Privilege   memorandum regarding DACA
                                                                                           Gountanis, John                       policy.
                                                                                           (DHS); Mizelle,
                                                                                           Chad (DHS)
70    Email             7/24/20   Barrow, Clark (DHS)                    Mizelle, Chad     Gountanis, John   Attorney Client     Pre-decisional communications
      (attaching Nos.                                                    (DHS)             (DHS)             Privilege;          regarding draft memorandum
      71, 72)                                                                                                Attorney Work       regarding DACA policy including
                                                                                                             Product;            comments from attorneys providing
                                                                                                             Deliberative        legal advice, including in
                                                                                                             Process Privilege   anticipation of litigation.
71    Memorandum        7/23/20   Barrow, Clark (DHS)                    Mizelle, Chad     Gountanis, John   Attorney Client     Pre-decisional, draft memorandum
                                                                         (DHS)             (DHS)             Privilege;          regarding DACA policy including
                                                                                                             Attorney Work       internal input from attorneys
                                                                                                             Product;            providing legal advice, including in
                                                                                                             Deliberative        anticipation of litigation.
                                                                                                             Process Privilege
72    Memorandum        7/23/20   Barrow, Clark (DHS)                    Mizelle, Chad     Gountanis, John   Attorney Client     Pre-decisional, draft memorandum
                                                                         (DHS)             (DHS)             Privilege;          regarding DACA policy including
                                                                                                             Attorney Work       internal comments from attorneys
                                                                                                             Product;            providing legal advice, including in
                                                                                                             Deliberative        anticipation of litigation.
                                                                                                             Process Privilege
73    Memorandum        7/23/20   Mizelle, Chad (DHS)                    Barrow, Clark     Gountanis, John   Attorney Client     Pre-decisional, draft memorandum
                                                                         (DHS)             (DHS);            Privilege;          containing internal comments
                                                                                           Woltornist,       Attorney Work       regarding DACA policy, including
                                                                                           Alexei (DHS)      Product;            input from attorneys reflecting legal
                                                                                                             Deliberative        advice.
                                                                                                             Process Privilege
                                                                                                                                                                        13
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No.   Document          Date      Email To / Recipients                    Email From /    Email CC           Grounds for         General Subject Matter /
      Type                                                                 Author                             Withholding         Privilege Description
74    Memorandum        7/22/20   Gountanis, John (DHS); Erickson, Scott   Mizelle, Chad   Cuccinelli,        Attorney Client     Pre-decisional, deliberative draft
                                  (DHS); Houlton, Tyler (DHS)              (DHS)           Kenneth (DHS)      Privilege;          memorandum containing internal
                                                                                                              Deliberative        comments regarding DACA policy,
                                                                                                              Process Privilege   including input from attorneys
                                                                                                                                  reflecting legal advice.
75    Memorandum        6/19/20   Wolf, Chad (DHS); Cuccinelli, Kenneth    Mizelle, Chad   Gountanis, John    Attorney Client     Pre-decisional, deliberative draft
                                  (DHS)                                    (DHS)           (DHS); Alfonso-    Privilege;          memorandum regarding DACA
                                                                                           Royals, Angelica   Attorney Work       policy, including input from
                                                                                           (DHS); Edlow,      Product;            attorneys reflecting legal advice,
                                                                                           Joseph (USCIS)     Deliberative        including in anticipation of
                                                                                                              Process Privilege   litigation.
76    Briefing Book     6/16/20                                            de la Vara,                        Attorney Client     Briefing book for Acting Secretary
                                                                           Hunter (DHS)                       Privilege;          of Homeland Security that includes
                                                                                                              Attorney Work       predecisional, deliberative legal
                                                                                                              Product;            and policy options and advice in
                                                                                                              Deliberative        anticipation of possible SCOTUS
                                                                                                              Process Privilege   decisions, as well as pre-decisional,
                                                                                                                                  deliberative discussions of and legal
                                                                                                                                  advice regarding matters outside the
                                                                                                                                  scope of this litigation.
77    Email             6/15/20   Gountanis, John (DHS)                    Maher, Joseph                      Attorney Client     Pre-decisional, deliberative
                                                                           (DHS)                              Privilege;          communications regarding DACA
                                                                                                              Attorney Work       decision, including a discussion of
                                                                                                              Product;            legal advice relating to the decision.
                                                                                                              Deliberative
                                                                                                              Process Privilege
78    Memorandum        6/9/20    Gountanis, John (DHS)                    Maher, Joseph                      Attorney Client     Pre-decisional, deliberative
                                                                           (DHS)                              Privilege;          document - legal and policy options
                                                                                                              Attorney Work       and advice in anticipation of
                                                                                                              Product;            possible SCOTUS decisions.
                                                                                                              Deliberative
                                                                                                              Process Privilege
79    Memorandum        7/13/20   Gountanis, John (DHS); Erickson, Scott   Mizelle, Chad                      Attorney Client     Pre-decisional, draft memorandum
                                  (DHS)                                    (DHS)                              Privilege;          regarding DACA policy, including
                                                                                                              Attorney Work       input from attorneys reflecting legal
                                                                                                              Product;            advice, including in anticipation of
                                                                                                              Deliberative        litigation.
                                                                                                              Process Privilege
80    Email             7/12/20   Edlow, Joseph (USCIS); Gountanis,        Mizelle, Chad                      Attorney Client     Pre-decisional, deliberative
      (attaching Nos.             John (DHS); Glabe, Scott (DHS)           (DHS)                              Privilege;          communications regarding DACA
      81, 82)                                                                                                 Attorney Work       decision, including a discussion of
                                                                                                              Product;            legal advice relating to the decision.
                                                                                                              Deliberative
                                                                                                              Process Privilege
                                                                                                                                                                       14
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      Type                                                            Author                     Withholding         Privilege Description
81    Memorandum   7/11/20   Edlow, Joseph (USCIS); Gountanis,        Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                             John (DHS); Glabe, Scott (DHS)           (DHS)                      Privilege;          regarding DACA policy including
                                                                                                 Attorney Work       internal comments from attorneys
                                                                                                 Product;            providing legal advice, including in
                                                                                                 Deliberative        anticipation of litigation.
                                                                                                 Process Privilege
82    Memorandum   7/11/20   Edlow, Joseph (USCIS); Gountanis,        Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                             John (DHS); Glabe, Scott (DHS)           (DHS)                      Privilege;          regarding DACA policy including
                                                                                                 Attorney Work       input from attorneys providing legal
                                                                                                 Product;            advice, including in anticipation of
                                                                                                 Deliberative        litigation.
                                                                                                 Process Privilege
83    Memorandum   7/10/20   Gountanis, John (DHS)                    Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                                                                      (DHS)                      Privilege;          regarding DACA policy including
                                                                                                 Attorney Work       input from attorneys providing legal
                                                                                                 Product;            advice, including in anticipation of
                                                                                                 Deliberative        litigation.
                                                                                                 Process Privilege
84    Memorandum   7/10/20   Gountanis, John (DHS)                    Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                                                                      (DHS)                      Privilege;          regarding DACA policy including
                                                                                                 Attorney Work       internal comments from attorneys
                                                                                                 Product;            providing legal advice, including in
                                                                                                 Deliberative        anticipation of litigation.
                                                                                                 Process Privilege
85    Memorandum   6/30/20   Wolf, Chad (DHS); Cuccinelli, Kenneth    Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                             (DHS); Gountanis, John (DHS);            (DHS)                      Privilege;          regarding DACA policy, including
                             Alfonso-Royals, Angelica (DHS);                                     Attorney Work       input from attorneys reflecting legal
                             Erickson, Scott (DHS); Houlton, Tyler                               Product;            advice, including in anticipation of
                             (DHS)                                                               Deliberative        litigation.
                                                                                                 Process Privilege
86    Memorandum   6/29/20   Wolf, Chad (DHS); Cuccinelli, Kenneth    Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                             (DHS); Gountanis, John (DHS);            (DHS)                      Privilege;          regarding DACA policy, including
                             Erickson, Scott (DHS); Houlton, Tyler                               Attorney Work       input from attorneys reflecting legal
                             (DHS); Alfonso-Royals, Angelica                                     Product;            advice, including in anticipation of
                             (DHS); Edlow, Joseph (USCIS)                                        Deliberative        litigation.
                                                                                                 Process Privilege
87    Memorandum   6/29/20   Gountanis, John (DHS); Erickson, Scott   Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                             (DHS); Houlton, Tyler (DHS)              (DHS)                      Privilege;          regarding DACA policy, including
                                                                                                 Attorney Work       input from attorneys reflecting legal
                                                                                                 Product;            advice, including in anticipation of
                                                                                                 Deliberative        litigation.
                                                                                                 Process Privilege



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      Type                                                         Author                              Withholding         Privilege Description
88    Email        7/24/20   Mizelle, Chad (DHS); Barrow, Clark    Gountanis, John                     Attorney Client     Pre-decisional, deliberative
                             (DHS)                                 (DHS)                               Privilege;          communications regarding DACA
                                                                                                       Attorney Work       decision, including a discussion of
                                                                                                       Product;            legal advice relating to the decision.
                                                                                                       Deliberative
                                                                                                       Process Privilege
89    Memorandum   7/23/20   Barrow, Clark (DHS)                   Mizelle, Chad     Gountanis, John   Attorney Client     Pre-decisional, draft memorandum
                                                                   (DHS)             (DHS);            Privilege;          regarding DACA policy including
                                                                                     Woltornist,       Attorney Work       internal comments from attorneys
                                                                                     Alexei (DHS)      Product;            providing legal advice, including in
                                                                                                       Deliberative        anticipation of litigation.
                                                                                                       Process Privilege
90    Memorandum   7/28/20   Wolf, Chad (DHS)                      Gountanis, John   Cuccinelli,       Deliberative        Pre-decisional, draft memorandum
                                                                   (DHS)             Kenneth (DHS);    Process Privilege   regarding DACA policy.
                                                                                     Alfonso-Royals,
                                                                                     Angelica (DHS);
                                                                                     Mizelle, Chad
                                                                                     (DHS);
                                                                                     Woltornist,
                                                                                     Alexei (DHS)
91    Memorandum   7/28/20   Wolf, Chad (DHS)                      Gountanis, John   Cuccinelli,       Attorney Client     Pre-decisional, draft memorandum
                                                                   (DHS)             Kenneth (DHS);    Privilege;          regarding DACA policy including
                                                                                     Alfonso-Royals,   Attorney Work       internal comments from attorneys
                                                                                     Angelica (DHS);   Product;            providing legal advice, including in
                                                                                     Mizelle, Chad     Deliberative        anticipation of litigation.
                                                                                     (DHS);            Process Privilege
                                                                                     Woltornist,
                                                                                     Alexei (DHS)
92    Memorandum   7/28/20   Mizelle, Chad (DHS); Morrell, David   Hamilton, Gene                      Attorney Client     Pre-decisional, draft memorandum
                             (DOJ); Mooppan, Hashim (DOJ)          (DOJ)                               Privilege;          regarding DACA policy including
                                                                                                       Attorney Work       internal comments from attorneys
                                                                                                       Product;            providing legal advice, including in
                                                                                                       Deliberative        anticipation of litigation.
                                                                                                       Process Privilege
93    Memorandum   7/28/20   Mizelle, Chad (DHS)                   Edlow, Joseph                       Attorney Client     Pre-decisional, draft memorandum
                                                                   (USCIS)                             Privilege;          regarding DACA policy including
                                                                                                       Attorney Work       internal comments from attorneys
                                                                                                       Product;            providing legal advice, including in
                                                                                                       Deliberative        anticipation of litigation.
                                                                                                       Process Privilege




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                                                      5976
No.   Document     Date      Email To / Recipients                   Email From /     Email CC           Grounds for         General Subject Matter /
      Type                                                           Author                              Withholding         Privilege Description
94    Memorandum   7/28/20   Mizelle, Chad (DHS)                     Morrell, David   Hamilton, Gene     Attorney Client     Pre-decisional, draft memorandum
                                                                     (DOJ)            (DOJ);             Privilege;          regarding DACA policy including
                                                                                      Mooppan,           Attorney Work       internal comments from attorneys
                                                                                      Hashim (DOJ)       Product;            providing legal advice, including in
                                                                                                         Deliberative        anticipation of litigation.
                                                                                                         Process Privilege
95    Email        6/23/20   Mizelle, Chad (DHS); Edlow, Joseph      Cuccinelli,      Rascher, Mallory   Attorney Client     Pre-decisional, deliberative
                             (USCIS)                                 Kenneth (DHS)    (DHS)              Privilege;          communications regarding DACA
                                                                                                         Deliberative        decision, including a discussion of
                                                                                                         Process Privilege   legal advice relating to the decision.
96    Memorandum   6/23/20   Mizelle, Chad (DHS)                     Wall, Jeffrey    Hamilton, Gene     Attorney Client     Pre-decisional, deliberative draft
                                                                     (DOJ)            (DOJ)              Privilege;          memorandum regarding DACA
                                                                                                         Attorney Work       policy including input from
                                                                                                         Product;            attorneys providing legal advice,
                                                                                                         Deliberative        including in anticipation of
                                                                                                         Process Privilege   litigation.
97    Memorandum   6/23/20   Mizelle, Chad (DHS)                     Wall, Jeffrey    Hamilton, Gene     Attorney Client     Pre-decisional, deliberative draft
                                                                     (DOJ)            (DOJ)              Privilege;          memorandum regarding DACA
                                                                                                         Attorney Work       policy including input from
                                                                                                         Product;            attorneys providing legal advice,
                                                                                                         Deliberative        including in anticipation of
                                                                                                         Process Privilege   litigation.
98    Email        6/22/20   Edlow, Joseph (USCIS); Mizelle, Chad    Cuccinelli,                         Attorney Client     Pre-decisional, deliberative
                             (DHS)                                   Kenneth (DHS)                       Privilege;          communications regarding DACA
                                                                                                         Deliberative        decision, including request for legal
                                                                                                         Process Privilege   advice relating to the decision.
99    Memorandum   6/21/20   Cuccinelli, Kenneth (DHS); Mizelle,     Edlow, Joseph                       Deliberative        Pre-decisional, draft document
                             Chad (DHS)                              (USCIS)                             Process Privilege   regarding options for path forward
                                                                                                                             regarding DACA.
100   Memorandum   6/25/20   Mizelle, Chad (DHS)                     Mizelle, Chad                       Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)                               Privilege;          memorandum regarding DACA
                                                                                                         Attorney Work       policy including internal comments
                                                                                                         Product;            from attorneys providing legal
                                                                                                         Deliberative        advice, including in anticipation of
                                                                                                         Process Privilege   litigation.
101   Memorandum   6/19/20   Wolf, Chad (DHS)                        Cuccinelli,      Edlow, Joseph      Attorney Client     Pre-decisional, deliberative draft
                                                                     Kenneth (DHS)    (USCIS);           Privilege;          memorandum containing internal
                                                                                      Mizelle, Chad      Attorney Work       comments regarding DACA policy,
                                                                                      (DHS)              Product;            including input from attorneys
                                                                                                         Deliberative        reflecting legal advice, including in
                                                                                                         Process Privilege   anticipation of litigation.
102   Email        6/20/20   Cuccinelli, Kenneth (DHS); Wolf, Chad   Edlow, Joseph    Mizelle, Chad      Deliberative        Pre-decisional, deliberative
                             (DHS)                                   (USCIS)          (DHS)              Process Privilege   communications regarding DACA
                                                                                                                             decision memorandum.
                                                                                                                                                                  17
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      Type                                                           Author                          Withholding         Privilege Description
103   Memorandum   6/19/20   Cuccinelli, Kenneth (DHS); Trujillo,    Edlow, Joseph   Mizelle, Chad   Attorney Client     Pre-decisional, deliberative draft
                             Jessica (DHS)                           (USCIS)         (DHS)           Privilege;          memorandum regarding DACA
                                                                                                     Attorney Work       policy including internal comments
                                                                                                     Product;            from attorneys providing legal
                                                                                                     Deliberative        advice, including in anticipation of
                                                                                                     Process Privilege   litigation.
104   Memorandum   6/19/20   Mizelle, Chad (DHS)                     Edlow, Joseph   Mizelle, Chad   Attorney Client     Pre-decisional, deliberative draft
                                                                     (USCIS)         (DHS)           Privilege;          memorandum regarding DACA
                                                                                                     Attorney Work       policy including internal comments
                                                                                                     Product;            from attorneys providing legal
                                                                                                     Deliberative        advice, including in anticipation of
                                                                                                     Process Privilege   litigation.
105   Memorandum   6/19/20   Edlow, Joseph (USCIS)                   Mizelle, Chad   Mizelle, Chad   Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)           (DHS)           Privilege;          memorandum regarding DACA
                                                                                                     Attorney Work       policy including internal comments
                                                                                                     Product;            from attorneys providing legal
                                                                                                     Deliberative        advice, including in anticipation of
                                                                                                     Process Privilege   litigation.
106   Memorandum   6/19/20   Mizelle, Chad (DHS)                     Mizelle, Chad                   Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)                           Privilege;          memorandum regarding DACA
                                                                                                     Attorney Work       policy including internal comments
                                                                                                     Product;            from attorneys providing legal
                                                                                                     Deliberative        advice, including in anticipation of
                                                                                                     Process Privilege   litigation.
107   Memorandum   6/19/20   Mizelle, Chad (DHS)                     Mizelle, Chad                   Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)                           Privilege;          memorandum regarding DACA
                                                                                                     Attorney Work       policy including internal comments
                                                                                                     Product;            from attorneys providing legal
                                                                                                     Deliberative        advice, including in anticipation of
                                                                                                     Process Privilege   litigation.
108   Email        6/18/20   Mizelle, Chad (DHS); Browne, Rene       Maher, Joseph                   Attorney Client     Pre-decisional, deliberative
                             (DHS)                                   (DHS)                           Privilege;          communications regarding Supreme
                                                                                                     Attorney Work       Court decision, including legal
                                                                                                     Product;            analysis of the decision and advice
                                                                                                     Deliberative        relating to possible agency actions.
                                                                                                     Process Privilege
109   Memorandum   6/9/20    Browne, Rene (DHS); McCleary,           Maher, Joseph   Palmer, David   Attorney Client     Pre-decisional, deliberative draft
                             Stephen (DHS); Wolf, Liana (DHS);       (DHS)           (DHS); OGC      Privilege;          document - legal and policy options
                             Baroukh, Nader (DHS); Kelliher, Brian                   Exec Sec;       Attorney Work       and advice in anticipation of
                             (DHS); Olowski, Lew (DHS); Smith,                       Mizelle, Chad   Product;            possible SCOTUS decisions.
                             Laura (DHS)                                             (DHS)           Deliberative
                                                                                                     Process Privilege



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      Type                                                              Author                             Withholding         Privilege Description
110   Memorandum        6/9/20    Edlow, Joseph (USCIS); Glabe, Scott   Maher, Joseph    Mizelle, Chad     Attorney Client     Pre-decisional, deliberative draft
                                  (DHS)                                 (DHS)            (DHS); Browne,    Privilege;          document - legal and policy options
                                                                                         Rene (DHS)        Attorney Work       and advice in anticipation of
                                                                                                           Product;            possible SCOTUS decisions.
                                                                                                           Deliberative
                                                                                                           Process Privilege
111   Memorandum        6/9/20    Mizelle, Chad (DHS)                   Maher, Joseph    Browne, Rene      Attorney Client     Pre-decisional, deliberative draft
                                                                        (DHS)            (DHS)             Privilege;          document - legal and policy options
                                                                                                           Attorney Work       and advice in anticipation of
                                                                                                           Product;            possible SCOTUS decisions.
                                                                                                           Deliberative
                                                                                                           Process Privilege
112   Memorandum        7/23/20   Mizelle, Chad (DHS)                   Hamilton, Gene   Wall, Jeffrey     Attorney Client     Pre-decisional, draft memorandum
                                                                        (DOJ)            (DOJ);            Privilege;          regarding DACA policy including
                                                                                         Mooppan,          Attorney Work       internal comments from attorneys
                                                                                         Hashim (DOJ);     Product;            providing legal advice, including in
                                                                                         Ellis, Jonathan   Deliberative        anticipation of litigation.
                                                                                         (DOJ); Mascott,   Process Privilege
                                                                                         Jenn (DOJ);
                                                                                         Morrell, David
                                                                                         (DOJ)
113   Email             7/21/20   Mizelle, Chad (DHS)                   Hamilton, Gene   Wall, Jeffrey     Attorney Client     Pre-decisional, deliberative
      (attaching Nos.                                                   (DOJ)            (DOJ);            Privilege;          communications regarding DACA
      114, 115)                                                                          Mooppan,          Attorney Work       decision, as well as discussions of
                                                                                         Hashim (DOJ);     Product;            legal advice relating to ongoing
                                                                                         Mascott, Jenn     Deliberative        litigation.
                                                                                         (DOJ)             Process Privilege
114   Memorandum        7/21/20   Mizelle, Chad (DHS)                   Hamilton, Gene   Wall, Jeffrey     Attorney Client     Pre-decisional, deliberative draft
                                                                        (DOJ)            (DOJ);            Privilege;          memorandum regarding DACA
                                                                                         Mooppan,          Attorney Work       policy including internal comments
                                                                                         Hashim (DOJ);     Product;            from attorneys providing legal
                                                                                         Mascott, Jenn     Deliberative        advice, including in anticipation of
                                                                                         (DOJ)             Process Privilege   litigation.
115   Memorandum        7/21/20   Mizelle, Chad (DHS)                   Hamilton, Gene   Wall, Jeffrey     Attorney Client     Pre-decisional, deliberative draft
                                                                        (DOJ)            (DOJ);            Privilege;          memorandum regarding DACA
                                                                                         Mooppan,          Attorney Work       policy including input from
                                                                                         Hashim (DOJ);     Product;            attorneys providing legal advice,
                                                                                         Mascott, Jenn     Deliberative        including in anticipation of
                                                                                         (DOJ)             Process Privilege   litigation.




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      Type                                                Author                             Withholding         Privilege Description
116   Memorandum        7/10/20   Mizelle, Chad (DHS)     Hamilton, Gene                     Attorney Client     Pre-decisional, deliberative draft
                                                          (DOJ)                              Privilege;          memorandum regarding DACA
                                                                                             Attorney Work       policy including input from
                                                                                             Product;            attorneys providing legal advice,
                                                                                             Deliberative        including in anticipation of
                                                                                             Process Privilege   litigation.
117   Memorandum        7/10/20   Mizelle, Chad (DHS)     Hamilton, Gene                     Attorney Client     Pre-decisional, draft memorandum
                                                          (DOJ)                              Privilege;          regarding DACA policy including
                                                                                             Attorney Work       internal comments from attorneys
                                                                                             Product;            providing legal advice, including in
                                                                                             Deliberative        anticipation of litigation.
                                                                                             Process Privilege
118   Memorandum        7/23/20   Mizelle, Chad (DHS)     Mooppan,         Hamilton, Gene    Attorney Client     Pre-decisional, deliberative draft
                                                          Hashim (DOJ)     (DOJ); Morrell,   Privilege;          memorandum regarding DACA
                                                                           David (DOJ)       Attorney Work       policy including input from
                                                                                             Product;            attorneys providing legal advice,
                                                                                             Deliberative        including in anticipation of
                                                                                             Process Privilege   litigation.
119   Memorandum        7/23/20   Mizelle, Chad (DHS)     Mooppan,         Hamilton, Gene    Attorney Client     Pre-decisional, deliberative draft
                                                          Hashim (DOJ)     (DOJ); Morrell,   Privilege;          memorandum regarding DACA
                                                                           David (DOJ)       Attorney Work       policy including internal comments
                                                                                             Product;            from attorneys providing legal
                                                                                             Deliberative        advice, including in anticipation of
                                                                                             Process Privilege   litigation.
120   Email             7/12/20   Mizelle, Chad (DHS)     Hamilton, Gene                     Attorney Client     Pre-decisional, deliberative
      (attaching Nos.                                     (DOJ)                              Privilege;          communications regarding DACA
      121, 122)                                                                              Deliberative        decision, including a discussion of
                                                                                             Process Privilege   legal advice relating to the decision.
121   Memorandum        7/11/20   Mizelle, Chad (DHS)     Hamilton, Gene                     Attorney Client     Pre-decisional, deliberative draft
                                                          (DOJ)                              Privilege;          memorandum regarding DACA
                                                                                             Attorney Work       policy including internal comments
                                                                                             Product;            from attorneys providing legal
                                                                                             Deliberative        advice, including in anticipation of
                                                                                             Process Privilege   litigation.
122   Memorandum        7/11/20   Mizelle, Chad (DHS)     Hamilton, Gene                     Attorney Client     Pre-decisional, deliberative draft
                                                          (DOJ)                              Privilege;          memorandum regarding DACA
                                                                                             Attorney Work       policy including input from
                                                                                             Product;            attorneys providing legal advice,
                                                                                             Deliberative        including in anticipation of
                                                                                             Process Privilege   litigation.




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      Type                                                                Author                             Withholding         Privilege Description
123   Email             7/22/20   Mizelle, Chad (DHS)                     Hamilton, Gene   Mooppan,          Attorney Client     Pre-decisional, deliberative
      (attaching Nos.                                                     (DOJ)            Hashim (DOJ);     Privilege;          communications regarding DACA
      124, 125)                                                                            Morrell, David    Deliberative        decision, including a discussion of
                                                                                           (DOJ); Mascott,   Process Privilege   legal advice relating to the decision.
                                                                                           Jenn (DOJ)
124   Memorandum        7/22/20   Mizelle, Chad (DHS)                     Hamilton, Gene   Mooppan,          Attorney Client     Pre-decisional, deliberative draft
                                                                          (DOJ)            Hashim (DOJ);     Privilege;          memorandum regarding DACA
                                                                                           Morrell, David    Attorney Work       policy including internal comments
                                                                                           (DOJ); Mascott,   Product;            from attorneys providing legal
                                                                                           Jenn (DOJ)        Deliberative        advice, including in anticipation of
                                                                                                             Process Privilege   litigation.
125   Memorandum        7/22/20   Mizelle, Chad (DHS)                     Hamilton, Gene   Mooppan,          Attorney Client     Pre-decisional, deliberative draft
                                                                          (DOJ)            Hashim (DOJ);     Privilege;          memorandum regarding DACA
                                                                                           Morrell, David    Attorney Work       policy including input from
                                                                                           (DOJ); Mascott,   Product;            attorneys providing legal advice,
                                                                                           Jenn (DOJ)        Deliberative        including in anticipation of
                                                                                                             Process Privilege   litigation.
126   Email             6/30/20   Mizelle, Chad (DHS); Philbin, Patrick   Mooppan,         Wall, Jeffrey     Attorney Client     Pre-decisional, deliberative
      (attaching Nos.             F. (EOP)                                Hashim (DOJ)     (DOJ);            Privilege;          communications regarding DACA
      127, 128)                                                                            Hamilton, Gene    Attorney Work       decision, including a discussion of
                                                                                           (DOJ)             Product;            legal advice relating to the decision.
                                                                                                             Deliberative
                                                                                                             Process
                                                                                                             Privilege;
                                                                                                             Presidential
                                                                                                             Communication
                                                                                                             Privilege
127   Memorandum        6/30/20   Mizelle, Chad (DHS); Philbin, Patrick   Mooppan,         Wall, Jeffrey     Attorney Client     Pre-decisional, deliberative draft
                                  F. (EOP)                                Hashim (DOJ)     (DOJ);            Privilege;          memorandum regarding DACA
                                                                                           Hamilton, Gene    Attorney Work       policy including internal comments
                                                                                           (DOJ)             Product;            from attorneys providing legal
                                                                                                             Deliberative        advice, including in anticipation of
                                                                                                             Process             litigation.
                                                                                                             Privilege;
                                                                                                             Presidential
                                                                                                             Communication
                                                                                                             Privilege




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                                                          5981
No.   Document         Date      Email To / Recipients                   Email From /     Email CC         Grounds for         General Subject Matter /
      Type                                                               Author                            Withholding         Privilege Description
128   Memorandum       6/30/20   Mizelle, Chad (DHS); Philbin, Patrick   Mooppan,         Wall, Jeffrey    Attorney Client     Pre-decisional, deliberative draft
                                 F. (EOP)                                Hashim (DOJ)     (DOJ);           Privilege;          memorandum regarding DACA
                                                                                          Hamilton, Gene   Attorney Work       policy including input from
                                                                                          (DOJ)            Product;            attorneys providing legal advice,
                                                                                                           Deliberative        including in anticipation of
                                                                                                           Process             litigation.
                                                                                                           Privilege;
                                                                                                           Presidential
                                                                                                           Communication
                                                                                                           Privilege
129   Email            7/22/20   Mizelle, Chad (DHS)                     Edlow, Joseph                     Attorney Client     Pre-decisional, deliberative
      (attaching No.                                                     (USCIS)                           Privilege;          communications and legal advice
      130)                                                                                                 Attorney Work       regarding DACA decision, as well
                                                                                                           Product;            as discussions of legal advice
                                                                                                           Deliberative        relating to ongoing litigation.
                                                                                                           Process Privilege
130   Memorandum       7/22/20   Mizelle, Chad (DHS)                     Edlow, Joseph                     Attorney Client     Pre-decisional, draft memorandum
                                                                         (USCIS)                           Privilege;          regarding DACA policy including
                                                                                                           Attorney Work       internal comments from attorneys
                                                                                                           Product;            providing legal advice, including in
                                                                                                           Deliberative        anticipation of litigation.
                                                                                                           Process Privilege
131   Email            7/13/20   Mizelle, Chad (DHS)                     Hamilton, Gene                    Attorney Client     Pre-decisional, deliberative
                                                                         (DOJ)                             Privilege;          communications and legal advice
                                                                                                           Attorney Work       regarding DACA decision, as well
                                                                                                           Product;            as discussions of legal advice
                                                                                                           Deliberative        relating to ongoing litigation.
                                                                                                           Process Privilege
132   Email            7/13/20   Mizelle, Chad (DHS)                     Hamilton, Gene                    Attorney Client     Pre-decisional, deliberative
                                                                         (DOJ)                             Privilege;          communications and legal advice
                                                                                                           Attorney Work       regarding DACA decision, as well
                                                                                                           Product;            as discussions of legal advice
                                                                                                           Deliberative        relating to ongoing litigation.
                                                                                                           Process Privilege
133   Memorandum       6/29/20   Wolf, Chad (DHS); Cuccinelli, Kenneth   Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative draft
                                 (DHS); Gountanis, John (DHS);           (DHS)                             Privilege;          memorandum regarding DACA
                                 Erickson, Scott (DHS); Houlton, Tyler                                     Attorney Work       policy including input from
                                 (DHS); Alfonso-Royals, Angelica                                           Product;            attorneys providing legal advice,
                                 (DHS); Edlow, Joseph (USCIS)                                              Deliberative        including in anticipation of
                                                                                                           Process Privilege   litigation.




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                                                      5982
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      Type                                                          Author                     Withholding         Privilege Description
134   Memorandum   7/28/20   Edlow, Joseph (USCIS)                  Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                                                                    (DHS)                      Privilege;          regarding DACA policy including
                                                                                               Attorney Work       internal comments from attorneys
                                                                                               Product;            providing legal advice, including in
                                                                                               Deliberative        anticipation of litigation.
                                                                                               Process Privilege
135   Memorandum   6/29/20   Edlow, Joseph (USCIS)                  Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                                                                    (DHS)                      Privilege;          memorandum regarding DACA
                                                                                               Attorney Work       policy including input from
                                                                                               Product;            attorneys providing legal advice,
                                                                                               Deliberative        including in anticipation of
                                                                                               Process Privilege   litigation.
136   Memorandum   6/29/20   Cuccinelli, Kenneth (DHS); Wolf,Chad   Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                                                                    (DHS)                      Privilege;          memorandum regarding DACA
                                                                                               Attorney Work       policy including internal comments
                                                                                               Product;            from attorneys providing legal
                                                                                               Deliberative        advice, including in anticipation of
                                                                                               Process Privilege   litigation.
137   Memorandum   6/23/20   Cuccinelli, Kenneth (DHS); Edlow,      Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                             Joseph (USCIS)                         (DHS)                      Privilege;          memorandum regarding DACA
                                                                                               Attorney Work       policy, including input from
                                                                                               Product;            attorneys reflecting legal advice,
                                                                                               Deliberative        including in anticipation of
                                                                                               Process Privilege   litigation.
138   Memorandum   6/23/20   Cuccinelli, Kenneth (DHS); Edlow,      Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                             Joseph (USCIS)                         (DHS)                      Privilege;          memorandum regarding DACA
                                                                                               Attorney Work       policy, including input from
                                                                                               Product;            attorneys reflecting legal advice,
                                                                                               Deliberative        including in anticipation of
                                                                                               Process Privilege   litigation.
139   Email        6/20/20   Edlow, Joseph (USCIS); Cuccinelli,     Mizelle, Chad              Attorney Client     Pre-decisional, deliberative
                             Kenneth (DHS); Wolf, Chad (DHS)        (DHS)                      Privilege;          communications regarding DACA
                                                                                               Deliberative        decision, including legal advice.
                                                                                               Process Privilege
140   Memorandum   6/19/20   Cuccinelli, Kenneth (DHS)              Mizelle, Chad              Attorney Client     Pre-decisional, draft memorandum
                                                                    (DHS)                      Privilege;          regarding DACA policy including
                                                                                               Attorney Work       input from attorneys providing legal
                                                                                               Product;            advice, including in anticipation of
                                                                                               Deliberative        litigation.
                                                                                               Process Privilege




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                                                           5983
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      Type                                                            Author                           Withholding         Privilege Description
141   Memorandum        6/19/20   Trujillo, Jessica (DHS)             Mizelle, Chad   Cuccinelli,      Attorney Client     Pre-decisional, draft memorandum
                                                                      (DHS)           Kenneth (DHS);   Privilege;          regarding DACA policy including
                                                                                      Edlow, Joseph    Attorney Work       input from attorneys providing legal
                                                                                      (USCIS)          Product;            advice, including in anticipation of
                                                                                                       Deliberative        litigation.
                                                                                                       Process Privilege
142   Memorandum        6/19/20   Cuccinelli, Kenneth (DHS); Edlow,   Mizelle, Chad                    Attorney Client     Pre-decisional, deliberative draft
                                  Joseph (USCIS)                      (DHS)                            Privilege;          memorandum regarding DACA
                                                                                                       Attorney Work       policy, including input from
                                                                                                       Product;            attorneys reflecting legal advice,
                                                                                                       Deliberative        including in anticipation of
                                                                                                       Process Privilege   litigation.
143   Memorandum        7/21/20   Cuccinelli, Kenneth (DHS)           Mizelle, Chad                    Attorney Client     Pre-decisional, deliberative draft
                                                                      (DHS)                            Privilege;          memorandum regarding DACA
                                                                                                       Attorney Work       policy, including input from
                                                                                                       Product;            attorneys reflecting legal advice,
                                                                                                       Deliberative        including in anticipation of
                                                                                                       Process Privilege   litigation.
144   Email             7/13/20   Hamilton, Gene                      Mizelle, Chad                    Attorney Client     Pre-decisional, deliberative
                                                                      (DHS)                            Privilege;          communications regarding DACA
                                                                                                       Deliberative        decision, including a discussion of
                                                                                                       Process Privilege   legal advice relating to the decision.
145   Email             7/21/20   Edlow, Joseph (USCIS)               Mizelle, Chad                    Attorney Client     Pre-decisional, deliberative
      (attaching Nos.                                                 (DHS)                            Privilege;          communications regarding DACA
      146, 147)                                                                                        Attorney Work       decision, including a discussion of
                                                                                                       Product;            legal advice relating to the decision,
                                                                                                       Deliberative        as well as advice relating to ongoing
                                                                                                       Process Privilege   litigation
146   Memorandum        7/21/20   Edlow, Joseph (USCIS)               Mizelle, Chad                    Attorney Client     Pre-decisional, deliberative draft
                                                                      (DHS)                            Privilege;          memorandum regarding DACA
                                                                                                       Attorney Work       policy including internal comments
                                                                                                       Product;            from attorneys providing legal
                                                                                                       Deliberative        advice, including in anticipation of
                                                                                                       Process Privilege   litigation.
147   Memorandum        7/21/20   Edlow, Joseph (USCIS)               Mizelle, Chad                    Attorney Client
                                                                      (DHS)                            Privilege;          Pre-decisional, deliberative draft
                                                                                                       Attorney Work       memorandum regarding DACA
                                                                                                       Product;            policy including input from
                                                                                                       Deliberative        attorneys providing legal advice,
                                                                                                       Process Privilege   including in anticipation of
                                                                                                                           litigation.




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      Type                                                              Author                            Withholding         Privilege Description
148   Memorandum       6/30/20   Glabe, Scott (DHS)                     Mizelle, Chad                     Attorney Client     Pre-decisional, draft memorandum
                                                                        (DHS)                             Privilege;          regarding DACA policy including
                                                                                                          Attorney Work       internal comments from attorneys
                                                                                                          Product;            providing legal advice, including in
                                                                                                          Deliberative        anticipation of litigation.
                                                                                                          Process Privilege
149   Memorandum       7/23/20   Edlow, Joseph (USCIS)                  Mizelle, Chad                     Deliberative        Pre-decisional, draft memorandum
                                                                        (DHS)                             Process Privilege   regarding DACA policy.
150   Email            7/22/20   Hamilton, Gene (DOJ); Morrell, David   Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative
      (attaching No.             (DOJ); Mooppan, Hashim (DOJ)           (DHS)                             Privilege;          communications regarding DACA
      151)                                                                                                Deliberative        decision, including a discussion of
                                                                                                          Process Privilege   legal advice relating to the decision.
151   Memorandum       7/22/20   Hamilton, Gene (DOJ); Morrell, David   Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative draft
                                 (DOJ); Mooppan, Hashim (DOJ)           (DHS)                             Privilege;          memorandum regarding DACA
                                                                                                          Attorney Work       policy including input from
                                                                                                          Product;            attorneys providing legal advice,
                                                                                                          Deliberative        including in anticipation of
                                                                                                          Process Privilege   litigation.
152   Email            7/22/20   Edlow, Joseph (USCIS)                  Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative
                                                                        (DHS)                             Privilege;          communications regarding DACA
                                                                                                          Attorney Work       decision, including a discussion of
                                                                                                          Product;            legal advice relating to the decision,
                                                                                                          Deliberative        as well as advice relating to ongoing
                                                                                                          Process Privilege   litigation.
153   Email            7/13/20   Hamilton, Gene                         Mizelle, Chad                     Attorney Client     Pre-decisional, deliberative
                                                                        (DHS)                             Privilege;          communications regarding DACA
                                                                                                          Deliberative        decision, including a discussion of
                                                                                                          Process Privilege   legal advice relating to the decision.
154   Memorandum       6/16/20   Bell, Stephen (USCIS); Barrow, Clark   McCleary,       ESEC-BBIC;        Attorney Client     Pre-decisional, draft deliberative
                                 (DHS); Palmer, David (DHS); OGC        Stephen (DHS)   Browne, Rene      Privilege;          document - legal and policy options
                                 Exec Sec; Policy Exec Sec; Gilmer,                     (DHS); Baroukh,   Attorney Work       and advice in anticipation of
                                 Chadwick (DHS); USCIS Exec Sec;                        Nader (DHS);      Product;            possible SCOTUS decisions.
                                 Nuebel Kovarik, Kathy (USCIS); Dove,                   Kelliher, Brian   Deliberative
                                 Stephen (USCIS); Davis, Patrice                        (DHS)             Process Privilege
                                 (USCIS); Penn, Melissa (USCIS);
                                 Drake, Johnetta (USCIS); Edlow,
                                 Joseph (USCIS); Highsmith, AnnMarie
                                 (USCIS); Mizelle, Chad (DHS); Maher,
                                 Joseph (DHS); Olowski, Lew (DHS)




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      Type                                                           Author                            Withholding         Privilege Description
155   Memorandum   6/16/20   Bell, Stephen (USCIS); Barrow, Clark    McCleary,       ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative draft
                             (DHS); Palmer, David (DHS); OGC         Stephen (DHS)   Browne, Rene      Privilege;          document - legal and policy options
                             Exec Sec; Policy Exec Sec; Gilmer,                      (DHS); Baroukh,   Attorney Work       and advice in anticipation of
                             Chadwick (DHS); USCIS Exec Sec;                         Nader (DHS);      Product;            possible SCOTUS decisions.
                             Nuebel Kovarik, Kathy (USCIS); Dove,                    Kelliher, Brian   Deliberative
                             Stephen (USCIS); Davis, Patrice                         (DHS)             Process Privilege
                             (USCIS); Penn, Melissa (USCIS);
                             Drake, Johnetta (USCIS); Edlow,
                             Joseph (USCIS); Highsmith, AnnMarie
                             (USCIS); Mizelle, Chad (DHS); Maher,
                             Joseph (DHS); Olowski, Lew (DHS)
156   Memorandum   6/16/20   McCleary, Stephen (DHS); Barrow,        Bell, Stephen   ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative draft
                             Clark (DHS); Palmer, David (DHS);       (USCIS)         Browne, Rene      Privilege;          document - legal and policy options
                             OGC Exec Sec; Policy Exec Sec;                          (DHS); Baroukh,   Attorney Work       and advice in anticipation of
                             Gilmer, Chadwick (DHS); USCIS Exec                      Nader (DHS);      Product;            possible SCOTUS decisions.
                             Sec; Nuebel Kovarik, Kathy (USCIS);                     Kelliher, Brian   Deliberative
                             Dove, Stephen (USCIS); Davis, Patrice                   (DHS)             Process Privilege
                             (USCIS); Penn, Melissa (USCIS);
                             Drake, Johnetta (USCIS); Edlow,
                             Joseph (USCIS); Highsmith, AnnMarie
                             (USCIS); Mizelle, Chad (DHS); Maher,
                             Joseph (DHS); Olowski, Lew (DHS)
157   Memorandum   6/16/20   Barrow, Clark (DHS); Palmer, David      McCleary,       ESEC-BBIC;        Attorney Client     Pre-decisional, deliberative draft
                             (DHS); OGC Exec Sec; Policy Exec        Stephen (DHS)   Browne, Rene      Privilege;          document - legal and policy options
                             Sec; Gilmer, Chadwick (DHS); USCIS                      (DHS); Baroukh,   Attorney Work       and advice in anticipation of
                             Exec Sec; Nuebel Kovarik, Kathy                         Nader (DHS);      Product;            possible SCOTUS decisions.
                             (USCIS); Dove, Stephen (USCIS);                         Kelliher, Brian   Deliberative
                             Davis, Patrice (USCIS); Penn, Melissa                   (DHS)             Process Privilege
                             (USCIS); Drake, Johnetta (USCIS);
                             Edlow, Joseph (USCIS); Highsmith,
                             AnnMarie (USCIS); Bell, Stephen
                             (USCIS); Mizelle, Chad (DHS); Maher,
                             Joseph (DHS); Olowski, Lew (DHS)




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      Type                                                           Author                                Withholding         Privilege Description
158   Memorandum   6/16/20   McGill, Greyson (DHS); Drake,           Sepehri, Reza      ESEC-BBIC;         Attorney Client     Pre-decisional, deliberative draft
                             Johnetta (USCIS); McCleary, Stephen     (DHS)              Browne, Rene       Privilege;          document - legal and policy options
                             (DHS); Bell, Stephen (USCIS); Barrow,                      (DHS); Baroukh,    Deliberative        and advice in anticipation of
                             Clark (DHS); Palmer, David (DHS);                          Nader (DHS);       Process Privilege   possible SCOTUS decisions.
                             OGC Exec Sec; Policy Exec Sec;                             Kelliher, Brian
                             Gilmer, Chadwick (DHS); USCIS Exec                         (DHS); King,
                             Sec; Nuebel Kovarik, Kathy (USCIS);                        Alexander
                             Dove, Stephen (USCIS); Penn, Melissa                       (USCIS); Bailey,
                             (USCIS); Edlow, Joseph (USCIS);                            Morgan (USCIS)
                             Highsmith, AnnMarie (USCIS);
                             Mizelle, Chad (DHS); Maher, Joseph
                             (DHS); Olowski, Lew (DHS)
159   Memorandum   6/16/20   McGill, Greyson (DHS); Drake,           Barrow, Clark      ESEC-BBIC;         Attorney Client     Pre-decisional, deliberative draft
                             Johnetta (USCIS); McCleary, Stephen     (DHS)              Browne, Rene       Privilege;          document - legal and policy options
                             (DHS); Bell, Stephen (USCIS); Palmer,                      (DHS); Baroukh,    Deliberative        and advice in anticipation of
                             David (DHS); OGC Exec Sec; Policy                          Nader (DHS);       Process Privilege   possible SCOTUS decisions.
                             Exec Sec; Gilmer, Chadwick (DHS);                          Kelliher, Brian
                             USCIS Exec Sec; Nuebel Kovarik,                            (DHS); King,
                             Kathy (USCIS); Dove, Stephen                               Alexander
                             (USCIS); Penn, Melissa (USCIS);                            (USCIS); Bailey,
                             Edlow, Joseph (USCIS); Highsmith,                          Morgan (USCIS)
                             AnnMarie (USCIS); Mizelle, Chad
                             (DHS); Maher, Joseph (DHS); Olowski,
                             Lew (DHS)
160   Memorandum   6/16/20   McCleary, Stephen (DHS); Bell,          Drake, Johnetta    ESEC-BBIC;         Attorney Client     Pre-decisional, deliberative draft
                             Stephen (USCIS); Barrow, Clark          (USCIS)            Browne, Rene       Privilege;          document - legal and policy options
                             (DHS); Palmer, David (DHS); OGC                            (DHS); Baroukh,    Deliberative        and advice in anticipation of
                             Exec Sec; Policy Exec Sec; Gilmer,                         Nader (DHS);       Process Privilege   possible SCOTUS decisions.
                             Chadwick (DHS); USCIS Exec Sec;                            Kelliher, Brian
                             Nuebel Kovarik, Kathy (USCIS); Dove,                       (DHS); King,
                             Stephen (USCIS); Penn, Melissa                             Alexander
                             (USCIS); Edlow, Joseph (USCIS);                            (USCIS); Bailey,
                             Highsmith, AnnMarie (USCIS);                               Morgan (USCIS)
                             Mizelle, Chad (DHS); Maher, Joseph
                             (DHS); Olowski, Lew (DHS)
161   Memorandum   7/13/20   Cuccinelli, Kenneth (DHS)               Rascher, Mallory                      Deliberative        Pre-decisional, deliberative draft
                                                                     (DHS)                                 Process Privilege   memorandum regarding DACA
                                                                                                                               policy.
162   Memorandum   6/19/20   Edlow, Joseph (USCIS)                   Cuccinelli,        Cuccinelli,        Deliberative        Pre-decisional, deliberative draft
                                                                     Kenneth (DHS)      Kenneth (DHS)      Process Privilege   memorandum containing internal
                                                                                                                               comments regarding DACA policy.




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      Type                                                           Author                                Withholding         Privilege Description
163   Memorandum   6/29/20   Cuccinelli, Kenneth (DHS); Wolf, Chad   Mizelle, Chad                         Attorney Client     Pre-decisional, deliberative draft
                             (DHS)                                   (DHS)                                 Privilege;          memorandum regarding DACA
                                                                                                           Attorney Work       policy, including input from
                                                                                                           Product;            attorneys reflecting legal advice,
                                                                                                           Deliberative        including in anticipation of
                                                                                                           Process Privilege   litigation.
164   Memorandum   7/24/20   Cuccinelli, Kenneth (DHS)               Trujillo, Jessica                     Deliberative        Pre-decisional, deliberative draft
                                                                     (DHS)                                 Process Privilege   memorandum regarding DACA
                                                                                                                               policy.
165   Memorandum   7/11/20   Cuccinelli, Kenneth (DHS)               Rascher, Mallory    Alfonso-Royals,   Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)               Angelica (DHS)    Privilege;          memorandum regarding DACA
                                                                                                           Attorney Work       policy including input from
                                                                                                           Product;            attorneys providing legal advice,
                                                                                                           Deliberative        including in anticipation of
                                                                                                           Process Privilege   litigation.
166   Memorandum   7/11/20   Cuccinelli, Kenneth (DHS)               Rascher, Mallory    Alfonso-Royals,   Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)               Angelica (DHS)    Privilege;          memorandum regarding DACA
                                                                                                           Attorney Work       policy including internal comments
                                                                                                           Product;            from attorneys providing legal
                                                                                                           Deliberative        advice, including in anticipation of
                                                                                                           Process Privilege   litigation.
167   Memorandum   6/19/20   Wolf, Chad (DHS)                        Cuccinelli,         Edlow, Joseph     Deliberative        Pre-decisional, deliberative draft
                                                                     Kenneth (DHS)       (USCIS);          Process Privilege   memorandum regarding DACA
                                                                                         Mizelle, Chad                         policy.
                                                                                         (DHS)
168   Memorandum   6/19/20   Wolf, Chad (DHS)                        Cuccinelli,                           Attorney Client     Pre-decisional, draft memorandum
                                                                     Kenneth (DHS)                         Privilege;          containing internal comments
                                                                                                           Attorney Work       regarding DACA policy, including
                                                                                                           Product;            input from attorneys reflecting legal
                                                                                                           Deliberative        advice, including in anticipation of
                                                                                                           Process Privilege   litigation.
169   Memorandum   6/19/20                                           Mizelle, Chad                         Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)                                 Privilege;          memorandum regarding DACA
                                                                                                           Attorney Work       policy including input from
                                                                                                           Product;            attorneys providing legal advice,
                                                                                                           Deliberative        including in anticipation of
                                                                                                           Process Privilege   litigation.
170   Memorandum   6/19/20                                           Mizelle, Chad                         Attorney Client     Pre-decisional, deliberative draft
                                                                     (DHS)                                 Privilege;          memorandum regarding DACA
                                                                                                           Attorney Work       policy input comments from
                                                                                                           Product;            attorneys providing legal advice,
                                                                                                           Deliberative        including in anticipation of
                                                                                                           Process Privilege   litigation.

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                                                      5988
No.   Document     Date      Email To / Recipients   Email From /    Email CC   Grounds for         General Subject Matter /
      Type                                           Author                     Withholding         Privilege Description
171   Memorandum   6/19/20                           Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                                                     (DHS)                      Privilege;          memorandum regarding DACA
                                                                                Attorney Work       policy including input from
                                                                                Product;            attorneys providing legal advice,
                                                                                Deliberative        including in anticipation of
                                                                                Process Privilege   litigation.
172   Memorandum   6/29/20                           Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                                                     (DHS)                      Privilege;          memorandum regarding DACA
                                                                                Attorney Work       policy including input from
                                                                                Product;            attorneys providing legal advice,
                                                                                Deliberative        including in anticipation of
                                                                                Process Privilege   litigation.
173   Memorandum   6/29/20                           Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                                                     (DHS)                      Privilege;          memorandum regarding DACA
                                                                                Attorney Work       policy including input from
                                                                                Product;            attorneys providing legal advice,
                                                                                Deliberative        including in anticipation of
                                                                                Process Privilege   litigation.
174   Memorandum   6/25/20                           Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                                                     (DHS)                      Privilege;          memorandum regarding DACA
                                                                                Attorney Work       policy including internal comments
                                                                                Product;            from attorneys providing legal
                                                                                Deliberative        advice, including in anticipation of
                                                                                Process Privilege   litigation.
175   Memorandum   6/19/20                           Mizelle, Chad              Attorney Client     Pre-decisional, deliberative draft
                                                     (DHS)                      Privilege;          memorandum regarding DACA
                                                                                Attorney Work       policy including input from
                                                                                Product;            attorneys providing legal advice,
                                                                                Deliberative        including in anticipation of
                                                                                Process Privilege   litigation.
176   Memorandum   6/19/20                           Cuccinelli,                Attorney Client     Pre-decisional, deliberative draft
                                                     Kenneth (DHS)              Privilege;          memorandum containing internal
                                                                                Attorney Work       comments regarding DACA policy,
                                                                                Product;            including input from attorneys
                                                                                Deliberative        reflecting legal advice, including in
                                                                                Process Privilege   anticipation of litigation.
177   Memorandum   6/19/20                           Cuccinelli,                Attorney Client     Pre-decisional, deliberative draft
                                                     Kenneth (DHS)              Privilege;          memorandum containing internal
                                                                                Deliberative        comments regarding DACA policy,
                                                                                Process Privilege   including input from attorneys
                                                                                                    reflecting legal advice, including in
                                                                                                    anticipation of litigation.



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                                                         5989
No.   Document        Date      Email To / Recipients   Email From /    Email CC   Grounds for         General Subject Matter /
      Type                                              Author                     Withholding         Privilege Description
178   Memorandum      6/19/20                           Cuccinelli,                Attorney Client     Pre-decisional, deliberative draft
                                                        Kenneth (DHS)              Privilege;          memorandum containing internal
                                                                                   Attorney Work       comments regarding DACA policy,
                                                                                   Product;            including input from attorneys
                                                                                   Deliberative        reflecting legal advice, including in
                                                                                   Process Privilege   anticipation of litigation.
179   Notations on    undated                           Cuccinelli,                Deliberative        Notations on printed copy of court
      court opinion                                     Kenneth (DHS)              Process Privilege   opinion, Crane v. Napolitano, No.
                                                                                                       3:12-cv-3247, ECF No. 58 (N.D.
                                                                                                       Tex. Apr. 23, 2013), reflecting pre-
                                                                                                       decisional deliberations regarding
                                                                                                       DACA policy.




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